                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  ST. JOSEPH DIVISION

RightCHOICE Managed Care, Inc., et al.,

               Plaintiffs,                                                Civil Action No.
                                                                       5:18-CV-06037-DGK
v.

Hospital Partners, Inc.; Hospital Laboratory          DECLARATION OF NATHANIEL J.
Partners, LLC; Empower H.I.S. LLC; RAJ             MOORE     IN SUPPORT OF PLAINTIFFS’
Enterprises of Central Florida, LLC d/b/a Pinnacle   MOTION FOR RULE 37 SANCTIONS
Laboratory Services; LabMed Services, LLC;           AGAINST   DEFENDANTS EMPOWER
SeroDynamics, LLC; David Byrns; Jorge Perez;       H.I.S., HOSPITAL PARTNERS, INC., AND
James F. Porter, Jr.; Beau Gertz; and Mark Blake,               JORGE PEREZ

               Defendants.



       I, Nathaniel J. Moore, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am a Partner at Robins Kaplan LLP, counsel to Plaintiffs in the above-captioned

action, and admitted to practice before this Court pro hac vice.

       2.      In a meet-and-confer with counsel for Empower H.I.S., LLC, Hospital Partners,

Inc., and Jorge Perez (the “Empower Defendants”) shortly after the Empower Defendants served

their responses to Plaintiffs’ first set of discovery, the Empower Defendants reiterated to

Plaintiffs that they would not produce any documents.

       3.      In the same meet-and-confer, and for the first time, the Empower Defendants

asserted the Fifth Amendment as a basis for their refusal to produce responsive documents.

       4.      The Empower Defendants’ February 15, 2019 production did not include:

(i) emails from key custodians, such as Jorge Perez, Ricardo Perez (Jorge Perez’s brother and

business partner), Yesenia Hidalgo (Empower’s Operations Manager), and Ernesto Fesser

(Empower’s Controller); (ii) operations-type documents describing Empower’s business



                                    1
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practices (e.g., documents detailing Empower’s submission of the claims at issue, or guiding

employees on how to bill claims); and (iii) the Empower Defendants’ financial records.

       5.      During the spring of 2019, the Empower Defendants made no productions besides

the one that occurred on February 15, 2019.

       6.      Seven days after the Court’s May 2019 Order, the Empower Defendants made

another limited production. This production did not materially improve the state of the Empower

Defendants’ production.

       7.      On August 21, 2019, the parties’ counsel spoke by phone regarding the status of

the Empower Defendants’ production, including the 600,000 new documents. The parties’

counsel agreed to work on search terms to narrow the universe of documents to be reviewed

from the new batch of 600,000 documents.

       8.      On August 23, 2019, the Empower Defendants re-produced in usable form the

documents that their previous counsel had produced months before.

       9.      On August 28, 2019, Plaintiffs and the Empower Defendants agreed to search

terms that narrowed the universe of new documents to be reviewed to approximately 112,000.

       10.     With fact discovery scheduled to close in September 2019, Plaintiffs had to take

the Empower Defendants’ depositions (which were scheduled for September 2019) without the

benefit of the vast majority of the documents that the Empower Defendants would eventually

produce.

       11.     In September 2019, Plaintiffs deposed Jorge Perez as well as two other Empower

employees (Ricardo Perez and Yesenia Hidalgo), each of whom invoked the Fifth Amendment

and declined to answer the Plaintiffs’ questions.




                                    2
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        12.    On September 24, 2019, the Empower Defendants produced 92,140 documents,

totaling 349,657 pages.

        13.    On October 17, 2019, the Empower Defendants produced additional financial

records.

        14.    On December 27, 2019, the Empower Defendants produced more financial

records.

        15.    Between September 26, 2019 and October 2019, Plaintiffs and the Empower

Defendants discussed the completeness of the Empower Defendants’ production in multiple

emails and at least one telephone call. During these conversations or emails, Plaintiffs noted to

the Empower Defendants that the Empower Defendants had produced fewer than ten emails

from 2016, that documents produced by other Defendants showed that the Empower Defendants’

production was incomplete, and that operations-type documents (such as those detailing

Empower H.I.S. LLC’s billing processes) appeared to be missing.

        16.    Of the 193,301 documents that the Empower Defendants have produced, only: (a)

0.54% were sent, received, last modified, or created in 2016; (b) 14.07% were sent, received, last

modified, or created in 2017; and (c) 87.28% were sent, received, last modified, or created in

2019.

        17.    The following table summarizes the Empower Defendants’ productions by the

year each documents was sent, received, and/or last modified.

                                       2016      2017       2018      2019 no date
              Date Sent                   9     6,443      4,411       286
              Date Received               5     6,125      4,361       286
              Date Last Modified        115    24,350     12,061   150,180
              Date Created              934    10,283      7,285   167,544
              Total Unique Docs        1041    27,198     12,876   168,704   6,264
              % of Population         0.54%    14.07%      6.66%    87.28%   3.24%



                                      3
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       18.     “Total Unique Docs” was calculated by searching for all documents with a Date

Sent, Date Received, Date Last Modified, or Date Created in a particular year, counting each

document once. If a single document has a Date Sent, Date Received, Date Last Modified, and

Dated Created in the same year, it was counted as one unique document. If a document was

created in one year and modified in another year, it shows as a unique document in both of those

years. As a result, the sum of the “Total Unique Docs” exceeds the total documents produced by

the Empower Defendants, and the sum of the “% of Populations” calculations is more than

100%. “% of Population” is calculated by dividing the Total Unique Docs Field by the total

number of documents produced by the Empower Defendants (193,301).

       19.     This analysis was performed by Robins Kaplan LLP in-house e-discovery

personnel at my request.

       20.     The Empower Defendants still have not provided any explanation for why emails

from 2016 have not been produced, nor why the vast majority of the produced documents were

from 2019.

       21.     Plaintiffs began requesting dates for the deposition of Jorge Perez in April 2019.

       22.     In late August 2019, counsel for the Empower Defendants stated that they did not

expect to have corporate representatives available to testify under Rule 30(b)(6) for either

Empower, H.I.S., LLC or Hospital Partners, Inc. because anyone capable of providing such

testimony would invoke their Fifth Amendment rights and refuse to answer Plaintiffs’ questions.

Plaintiffs’ counsel responded that, if the Empower Defendants did not designate a corporate

designee, Plaintiffs would seek the imposition of sanctions.




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          23.   Plaintiffs and the Empower Defendants eventually agreed to dates that the

Empower Defendants and certain of their employees would be deposed in September 2019.

          24.   On September 10, 2019, Plaintiffs were scheduled to depose Empower H.I.S.

LLC, but no corporate representative appeared.

          25.   On September 18, 2019, Plaintiffs were scheduled to depose Hospital Partners,

Inc., but no corporate representative appeared.

          26.   Plaintiffs performed numerous searches for Exhibits Z and AA in the Empower

Defendants’ productions, but were unable to locate those documents.

          27.   A highlighted excerpt from the transcript of the deposition of Putnam County

Memorial Hospital’s Rule 30(b)(6) representative, Gayle Pickens, is attached as Exhibit A

hereto.

          28.   A true and correct copy of Byrns0011015, a document produced in this case by

David Byrns, is attached as Exhibit B hereto.

          29.   A true and correct copy of Byrns0028955, a document produced in this case by

David Byrns, is attached as Exhibit C hereto.

          30.   A true and correct copy of defendants Hospital Partners, Inc., Empower H.I.S.,

LLC, David Byrns, and Jorge Perez’s Rule 26(a)(1) disclosures is attached as Exhibit D hereto.

          31.   True and correct copies of the Empower Defendants’ responses to the Plaintiffs’

1st Interrogatories, 1st Requests for Production, and 1st Requests for Admission are attached as

Exhibits E-M hereto.

          32.   A true and correct copy of the Empower Defendants’ Amended Responses to

Plaintiffs’ 1st set of Admission, Production, and Interrogatories is attached as Exhibit N hereto.




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       33.     True and correct copies of the Empower Defendants’ Amended Responses to

Plaintiffs’ 1st Requests for Production and 1st Interrogatories are attached Exhibits O-T hereto.

       34.     A true and correct copy of correspondence between Plaintiffs’ counsel and former

counsel for the Empower Defendants dated May 17, 2019 is attached as Exhibit U hereto.

       35.     A true and correct copy of correspondence between Plaintiffs’ counsel and

counsel for the Empower Defendants dated June 21, 2019 is attached as Exhibit V hereto.

       36.     A true and correct copy of correspondence between Plaintiffs’ counsel and

counsel for the Empower Defendants dated August 20, 2019 is attached as Exhibit W hereto.

       37.     A highlighted excerpt from the transcript of the deposition of Empower H.I.S.,

LLC is attached hereto as Exhibit X hereto.

       38.     A highlighted excerpt from the transcript of the deposition of Hospital Partners,

Inc. is attached hereto as Exhibit Y.

       39.     A true and correct copy of Byrns0034894, a document produced in this case by

David Byrns, is attached as Exhibit Z hereto.

       40.     A true and correct copy of Byrns0008811, a document produced in this case by

David Byrns, is attached as Exhibit AA hereto.

       Executed in Minneapolis, Minnesota this 7th day of February 2020.

                                                         /s/ Nathaniel J. Moore
                                                         Nathaniel J. Moore




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                                      Certificate of Service

       I hereby certify that the foregoing was filed electronically with the United States District

Court for the Western District of Missouri, through the Court’s CM/ECF system, on the 7th day

of February 2020, with notice of case activity sent to counsel of record.

                                                       /s/ Michael L. Jente




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                Exhibit A




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                                                                            Page 1
 1              IN THE UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MISSOURI
 2                      ST. JOSEPH DIVISION
 3

 4   RightCHOICE Managed Care,   )
     Inc., et al.,               )
 5                               )
                    Plaintiffs, )
 6                               )
       v.                        ) CIVIL ACTION NO.
 7                               ) 5:18:CV-06037-DGK
                                 )
 8   Hospital Partners, Inc.,    )
     et al.,                     )
 9                               )
                    Defendants. )
10   ____________________________)
11

12

13

14

15       VIDEOTAPED DEPOSITION OF ARLENE GAYLE PICKENS
16                 Friday, September 27, 2019
17                     Kansas City, Missouri
18

19

20

21

22

23

24   REPORTED BY: CONNIE McCARTHY, CCR, RMR, CRR
25   Job No. 169299


               TSG Reporting - Worldwide 877-702-9580
       Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 9 of 314
                                                                         Page 42
 1   BY MR. PFEIFFER:
 2        Q.    Did David Byrns and Jorge Perez cut ties
 3   with TruBridge?     Was that who made that decision?
 4        A.    Yes.
 5        Q.    And they did that, TruBridge went out, and
 6   Empower HIS went in as the billing entity; is that
 7   right?
 8        A.    Yes, correct.
 9        Q.    And TruBridge, while it was working with
10   Putnam, did not submit claims for laboratory services
11   that Putnam did not perform, correct?
12        A.    That is correct.
13        Q.    And you told us right now that Putnam's
14   in-house folks are not billing for services that
15   Putnam does not provide, correct?
16        A.    Correct.     With the exception --
17        Q.    Yeah, go ahead.
18        A.    Excuse me.     With the exception of specimens
19   that my lab cannot -- our inpatients may have, for
20   example, a D-dimer.      I don't have the capabilities to
21   do that, so I send that out to Quest.
22        Q.    All right.     Quest is Putnam's reference
23   lab, correct?
24        A.    Yes.
25        Q.    So it was only during the time that Empower


                TSG Reporting - Worldwide 877-702-9580
       Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 10 of 314
                                                                         Page 43
 1   HIS was submitting claims on behalf of Putnam that
 2   Putnam received payments for services that Putnam was
 3   not performing, correct?
 4          A.   Correct.
 5          Q.   As part of your role in preparing to
 6   testify as a corporate designee, did you have a
 7   chance to look at some of the spreadsheets that
 8   Putnam provided to us in response to the subpoena
 9   that we issued?
10          A.   Yes.
11          Q.   And those spreadsheets show us laboratory
12   tests performed at and by Putnam for BCS members
13   from -- well, I'll back up and just hand you one of
14   them.
15               (Exhibit No. 400 was marked for
16   identification)
17   BY MR. PFEIFFER:
18          Q.   Do you have Exhibit No. 400 in front of
19   you?
20          A.   Yes.
21          Q.   This is a document that Putnam prepared,
22   correct?
23          A.   Yes.
24          Q.   And this spreadsheet shows us the
25   laboratory tests performed at and by Putnam for BCS


                 TSG Reporting - Worldwide 877-702-9580
       Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 11 of 314
                                                                         Page 49
 1   403.   It's Byrns0032511.      Do you see in this email
 2   from February 9, 2017, that David Byrns is asking,
 3   quote, How do we get the medical records after the
 4   Missouri Auditor wanted to see detailed patient
 5   records to support the billings that were submitted
 6   on behalf of Putnam?
 7               MR. MINANA:     Form and foundation.
 8               THE WITNESS:     Yes, that's what's stated.
 9   BY MR. PFEIFFER:
10          Q.   So thousands of claims were submitted to
11   health insurers for laboratory services but Putnam
12   did not possess patient records for the services
13   being billed, correct?
14               MR. MINANA:     Same.
15               THE WITNESS:     Correct.
16   BY MR. PFEIFFER:
17          Q.   Putnam did not generate medical records or
18   test reports for the millions that were billed for
19   out-of-state laboratory services, correct?
20               MR. MINANA:     Same.
21               THE WITNESS:     Yes, that's true.
22   BY MR. PFEIFFER:
23          Q.   And that's because Putnam did not actually
24   perform laboratory services for out-of-state patients
25   in 2016 and 2017, correct?


                 TSG Reporting - Worldwide 877-702-9580
       Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 12 of 314
                                                                         Page 63
 1              THE WITNESS:      It would be Page 3.
 2   55,611,793.13.
 3   BY MR. PFEIFFER:
 4        Q.    So combined between 2016 and 2017, Hospital
 5   Lab Partners received more than 61 million from
 6   Putnam's bank accounts?
 7              MR. MINANA:      Same.
 8              THE WITNESS:      Yes.
 9   BY MR. PFEIFFER:
10        Q.    And it's your understanding that the vast
11   majority of that money is related to reimbursement
12   for services that Putnam did not perform or directly
13   supervise; is that true?
14              MR. MINANA:      Same.
15              THE WITNESS:      True.
16   BY MR. PFEIFFER:
17        Q.    How much did LabMed Services receive in
18   2017?
19        A.    20,201,295.40.
20        Q.    And what is listed in terms of the
21   description for those amounts.
22        A.    Lab management fees.
23        Q.    Did LabMed have any employees at Putnam in
24   2017?
25              MR. MINANA:      Form, foundation.


                TSG Reporting - Worldwide 877-702-9580
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                                                                            Page 66
 1   they received to Putnam?
 2           A.    No.
 3           Q.    How much did SeroDynamics receive in 2017?
 4           A.    6,104,500.
 5           Q.    Did Putnam ever receive any invoices from
 6   SeroDynamics?
 7           A.    No.
 8           Q.    Were there any SeroDynamics who were
 9   located at the Putnam lab on a day-to-day basis in
10   2016 or 2017?
11                 MR. MINANA:      Same.
12                 THE WITNESS:      No.
13   BY MR. PFEIFFER:
14           Q.    Is it Putnam's belief that SeroDynamics
15   received more than six million out of the insurance
16   proceeds for services that Putnam did not perform or
17   directly supervise?
18                 MR. MINANA:      Same.
19                 THE WITNESS:      Yes.
20           Q.    So Exhibit No. 407 shows that Putnam paid
21   out more than 127 million to entities involved in the
22   laboratory billing scheme in 2016 and 2017, correct?
23                 MR. MINANA:      Same.
24                 THE WITNESS:      Correct.
25   //


                   TSG Reporting - Worldwide 877-702-9580
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                                                                         Page 70
 1              THE WITNESS:      No.
 2   BY MR. PFEIFFER:
 3        Q.    Did Putnam provide personal direction or
 4   supervision for testing performed by Pinnacle?
 5              MR. MINANA:      Same.
 6              THE WITNESS:      No.
 7   BY MR. PFEIFFER:
 8        Q.    Did Putnam provide direction or personal
 9   supervision for testing performed by SeroDynamics?
10              MR. MINANA:      Same.
11              THE WITNESS:      No.
12   BY MR. PFEIFFER:
13        Q.    Did Putnam provide direction or personal
14   supervision for testing performed by LifeBrite?
15              MR. MINANA:      Same.
16              THE WITNESS:      No.
17   BY MR. PFEIFFER:
18        Q.    Did Hospital Partners and its
19   representatives exercise full control over the
20   operation of Putnam in 2016 and '17?
21              MR. MINANA:      Same.
22              THE WITNESS:      Yes.
23   BY MR. PFEIFFER:
24        Q.    Did Mr. Perez and Mr. Byrns exercise full
25   control over the operation of Putnam when the claims


                TSG Reporting - Worldwide 877-702-9580
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                 Exhibit B




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From:                                  Ricardo J Perez < rjperez@medxgroup.com >
Sent:                                  Friday, December 16, 2016 11:39 AM
To:                                    'Rhonda Webber'; daviedlb@aol.com
Cc:                                    'jperez'
Subject:                               disbursement



Hello


                     PCMH Lab Posting Summary
                From 12/09/2016 thru 12/15/2016
 Account                           Claim Count    Disbursement      PCMH
 PCM LifeBrite                              333    $665,389.98    $166,347.49
 PCM Pinnacle                               259    $497,199.98    $124,300.00
 PCM Cadira                                  16     $20,446.52     $13,631.02
 Total     u   ,u~
                     - :i•   ·ri
                                     r- -
                                            608   $1,162,589.96   $304,278.51



 For Billing:
 EMPOWER HIS LLC                    $116,259.00
 8724 SW 72nd ST Suite
 459
 Miami, FL 33173


 Account# 4301769018
 TD BANK
 Routing# 067014822




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                 Exhibit C




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 18 of 314
From:                                                          Rhonda Webber < rwebber@pcmhosp.com >
Sent:                                                          Tuesday, September 19, 2017 11 :21 AM
To:                                                            Ernesto Fesser; Lisa Umphrey; Michele Stafford; daviedlb @aol.com
Cc:                                                            Ricardo J. Perez
Subject:                                                       RE: Distribution



Ern ie,
I just spoke with David and he asked me to ask you to hold off one day on these wires . We need to make payroll on
Thursday.

Thank you .

Rhonda Webber
Accounts Payable
Putnam County Memorial Hospital
1926 Oak Street
P.O. Box 389
Unionville, MO 63565
Phone 660-947-3673 Ext 2313
Fax 660-947-3825


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http://www .pcmhosp.com/




From: Ernesto Fesser [mailto:ernesto.fesser@empowerhis.com]
Sent: Tuesday, September 19, 2017 10:57 AM
To: Rhonda Webber; Lisa Umphrey; Michele Stafford; daviedlb@aol.com
Cc: Ricardo J. Perez
Subject: Distribution




Hi Rhonda and Lisa

Please process the following wire transfers.

LabMed Services, LLC - $176,276.00
BB&T Bank
ABA No. 263191387
AcctNo.0000243610818                                                                                                         1il   EXHIBIT
1910 E. Palm Ave
                                                                                                                            fe~(e-z3tv,
                                                                                                                            ~  ct- -/q
              Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 19 of 314Byrns0028955
#12302
Tampa, FL 33605
813-480-6828

SeroDynamics, LLC - $67,500.00
Wells Fargo Bank, N.A.
ABA No. 121000248
AcctNo.3699558734
301 S. Orlando Ave
Maitland, FL 32751
407-646-1600


Thank you

Ernie Fesser, MBA
Controller
empo erHIS
efesser@empowerhis.com
Office: {786)364-5423
Cell Phone: {305)282-2533

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                                                        2




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                 Exhibit D




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 21 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                  CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                  5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

   RULE 26(a)(1) DISCLOSURES OF DEFENDANTS HOSPITAL PARTNERS, INC.,
          EMPOWER H.I.S., LLC, DAVID BYRNS, AND JORGE PEREZ

       PLEASE TAKE NOTICE that Defendants HOSPITAL PARTNERS, INC., EMPOWER

H.I.S., LLC, DAVID BYRNS and JORGE PEREZ (herein, collectively “Defendants”), by and

through undersigned counsel, and in accordance with the applicable Fed. R. Civ. P. 26(a)(1),

hereby disclose as follows:

       Defendants note that as this matter is not yet at issue, and none of the parties, claims,

counterclaims and defenses are settled at this time, it is impossible to currently ascertain a scope

of the proceeding or discovery, or to completely determine standard Fed. R. Civ. P. 26(a)(1)

disclosures. Accordingly, the responses below are provided in general form, subject to later

amendment as the case proceeds, and Defendants reserving all rights in this regard.

       1.      The name and, if known, the address and telephone number of each individual

likely to have discoverable information – along with the subject of that information – that

Disclosing Party may use to support its claims or defenses, unless the use would be solely for

impeachment.

       Disclosure:



                                Page 1 of 6
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          a. Corporate Representative(s) of each of the Plaintiffs to discuss the

             allegations in the complaint, their policies, procedures, factual allegations

             and claims, as well as which vendors handle information. Address and

             phone in care of Plaintiffs’ counsel.

          b. Corporate Representative(s) of any billing/management/information

             vendors of the Plaintiffs to discuss the allegations in the complaint, their

             policies, procedures, the factual allegations and claims, as well as the

             Plaintiffs’ information. Address and phone in care of Plaintiffs’ counsel.

          c. Corporate Representative(s) of each of the Defendants to discuss the

             allegations in the complaint, their policies, procedures, factual allegations

             and defenses, as well as which vendors handle information. Address and

             phone in care of undersigned counsel.

          d. Corporate Representative(s) of any billing/management vendors of the

             Defendants to discuss the allegations in the complaint, their policies,

             procedures, the factual allegations and defenses of Defendants, as well as

             the Defendants’ information. Address and phone in care of undersigned

             counsel.

          e. Corporate Representative(s) of each of the other defendants to discuss the

             allegations in the complaint, their policies, procedures, factual allegations

             and defenses, as well as which vendors handle information. Address and

             phone in care of their counsel.

          f. Corporate Representative(s) of any billing/management vendors of the other

             defendants to discuss the allegations in the Complaint, their policies,




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                      procedures, the factual allegations and defenses of the other defendants, as

                      well as the other defendants’ information. Address and phone in care of

                      their counsel.

                  g. Corporate Representative(s) of each of Putnam County Memorial Hospital,

                      Putnam County Memorial Hospital Board and Putnam County, to discuss

                      the allegations in the complaint, their policies, procedures, factual

                      allegations and defenses, as well as which vendors handle information.

                      Address and phone in care of their counsel.

                  h. Corporate Representative(s) of any billing/management vendors of the

                      Putnam County Memorial Hospital, Putnam County Memorial Hospital

                      Board and Putnam County to discuss the allegations in the complaint, their

                      policies, procedures, the factual allegations and defenses of Putnam County

                      Memorial Hospital, Putnam County Memorial Hospital Board and Putnam

                      County, as well as Putnam County Memorial Hospital’s, Putnam County

                      Memorial Hospital Board’s and Putnam County’s information. Address and

                      phone in care of their counsel.

                  i. Representatives of CMS and the State of Missouri to address the allegations

                      of the complaint. Address and phone in care of their respective counsel.

       2.     A copy – or a description by category and location – of all documents, electronically

stored information, and tangible things that Disclosing Party has in its possession, custody, or

control, that Disclosing Party may use to support its claims or defenses, unless the use would be

solely for impeachment.

       Disclosure:




                                Page 3 of 6
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 24 of 314
                  a. It does not appear that any responsive documents would be in the

                      Defendants’ possession at this time, other than their internal policies,

                      procedures, and contracts with Putnam County and the Putnam County

                      Memorial Hospital Board; all relevant documents being in the possession

                      custody and control of third-parties as the Complaint is currently

                      understood.

                  b. Depending on the scope of the matter and any defenses raised, there may be

                      electronically   stored    information    in    the   possession   of   any

                      billing/management vendors of the Defendants. These documents may

                      include information relative to the veracity of the claims in the Complaint,

                      as well as the responses and defenses raised by Defendants.

       3.      A computation of each category of damages claimed by Disclosing Party – who

will make available for inspection and copying as under Rule 34 the documents or other

evidentiary material, unless privileged or protected from disclosure, on which each computation is

based, including materials bearing on the nature and extent of injuries suffered.

       Disclosure:

                  a. Not applicable, no damages are currently sought by Defendants.

       4.      Make arrangements for inspection and copying as under Rule 34, any insurance

agreement under which an insurance business may be liable to satisfy all or part of a judgment in

the action or to indemnify or reimburse for payments made to satisfy the judgment.

       Disclosure:

                  a. Defendants are unaware of any insurance agreement under which an

                      insurance business may be liable to satisfy all or part of a judgment in the




                                Page 4 of 6
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 25 of 314
                      action or to indemnify or reimburse for payments made to satisfy the

                      judgment.

       5.     Defendants expressly reserve their right to supplement this disclosure as the case

comes to issue, and investigation and discovery continue.

                                                    Respectfully submitted,

                                                    CHAPMAN AND COWHERD, P.C.
                                            By:   /s/ Lauren A. Horsman
                                                    Lauren A. Horsman – Mo Bar No. 60982
                                                    903 Jackson – P.O. Box 228
                                                    Chillicothe, MO 64601
                                                    Telephone: 660-646-0627
                                                    Telefax: 660-646-1105
                                                    E-mail: lhorsman@ccttlaw.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ


                                                    FMS LAWYER PL

                                            By:   /s/ Frank Smith
                                                    Frank Smith – FL Bar No. 069681
                                                    9900 Stirling Road, Suite 226
                                                    Cooper City, FL 33024
                                                    Telephone: 954-985-1400
                                                    Telefax: 954-241-6947
                                                    Email: frank.smith@fmslawyer.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ
                                                    Admitted Pro Hac Vice




                                Page 5 of 6
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 26 of 314
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of October 2018, I electronically served a true copy of

the foregoing to all counsel of record.

                                                     /s/ Lauren A. Horsman




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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 27 of 314
                 Exhibit E




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 28 of 314
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                         )
et al.,                                                )
                                                       )       CIVIL ACTION NO.:
                               Plaintiffs,             )
                                                       )       5:18-cv-06037-DGK
V.                                                     )
                                                       )
HOSPITAL PARTNERS INC., et al.,                        )
                                                       )
                               Defendants.             )
___________                                            )

                 DEFENDANT EMPOWER H.I.S. LLC'S RESPONSES TO
                  PLAINTIFF'S FIRST SET OF INTERROGATORIES

        In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant EMPOWER H.I.S. LLC, ("Defendant"), by and through its

undersigned counsel, hereby responds to Plaintiffs First Set oflnterrogatories, in accordance with

the above-mentioned Rules.

                                     GENERAL PARAMETERS

        1.     To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

        2.     Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       3.      Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

33 and will not admit any pure legal conclusions.


                                Page 1 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 29 of 314
        4.      Defendant reserves the right to supplement, correct or otherwise modify his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

        5.      Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

        6.      Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what it believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

        7.      Defendant's provision of any information in response to Plaintiffs First Set of

Interrogatories is not a concession as to the admissibility of such information or document.

Defendant reserves all objections as to admissibility.

       8.       Defendant has reviewed any proposed instructions, but will only adhere to same to

the extent the instructions are not in conflict with the applicable Rules.

       9.       Subject to the above General Parameters, Defendant responds to the Plaintiffs First

Set oflnterrogatories as follows:

                           RESPONSES TO INTERROGATORIES

       1.       INTERROGATORY NO. 1: How much did you receive, whether directly or

indirectly, as a result of laboratory tests that were billed through PCMH, and how was that amount

calculated?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged




                                Page 2 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 30 of 314
         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 2016?

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Fmiher objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         3.     INTERROGATORY NO. 3: Have you returned any of the money that you received

for services that were billed through PCMH? If not, please explain why you have not returned the

money.

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Further objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an eff01i to answer the interrogatory, without waiving any




                                Page 3 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 31 of 314
        objections, Defendant is unaware of any amounts received directly or indirectly, as a result

        of laboratory tests that were billed through PCMH, and notes that as a service provider, or

        derivatively through a service provider, Defendant would have no actual knowledge of the

        "source" of any paid funds, except that they came from the general accounts of PCMH.

        Defendant is further unaware of any basis to return any funds to PCMH by any paiiy.

       4.      INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       5.      INTERROGATORY NO. 5: Have you or any of your employees ever suggested to

anyone (excluding your attorneys) that the billing arrangement for laboratory services at PCMH

was improper, illegal, or impermissible? If yes, please explain.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       6.      INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?




                                Page 4 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 32 of 314
        RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

        and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary financial

       information of Defendant. In an effort to answer the interrogatory, without waiving any

       objections, Defendant is unaware of any amounts received directly or indirectly, as a result

       of laboratory tests that were billed through PCMH, and notes that as a service provider, or

       derivatively through a service provider, Defendant would have no actual knowledge of the

       "source" of any paid funds, except that they came from the general accounts of PCMH.

       Defendant is further unaware of any basis to return any funds to PCMH by any party.

       7.      INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs

through PCMH or using PCMH-related identifiers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did.

       8.      INTERROGATORY NO. 8: Identify every person who participated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer who handled their laboratory billing. This interrogatory also

       seems to be requesting the identification every employee of any Plaintiff, every employee

       of any Defendant, all employees of PCMH, all doctors of PCMH, and all patients who

       ultimately received laboratory tests and/or results.

       9.     INTERROGATORY NO. 9: Who initially proposed or suggested that you bill




                                Page 5 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 33 of 314
laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did, but Defendant notes that he is

       unaware of the scenario implied in the interrogatory.

       10.    INTERROGATORY NO. 10: Do you still do business with any of the defendants?

If not, please explain why. If yes, please describe your current relationship with each such

defendant.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietaiy information

       of Defendant.

       11.    INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       inte1rngatory, without waiving any objections, Defendant is unaware of any improper

      billing arrangement at PCMH, and accordingly has no basis to answer the proposed

      interrogatory. Defendant further suggests that only PCMH can answer as to their

      communication with third-parties.




                               Page 6 of 8
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 34 of 314
       12.    INTERROGATORY NO. 12: Are you currently participating m any other

laboratory-billing arrangement like the one at PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary information

       of Defendant. In an effort to answer the inte1rngatory, without waiving any objections,

       Defendant is not currently in the laboratory business.


                                                    Respectfully submitted,

                                                     CHAPMAN AND COWHERD, P.C.
                                             By:   Isl Lauren A. Horsman
                                                     Lauren A. Horsman - Mo Bar No. 60982
                                                     903 Jackson-P.O. Box 228
                                                     Chillicothe, MO 64601
                                                     Telephone: 660-646-0627
                                                     Telefax: 660-646-1105
                                                    E-mail: lhorsman@ccttlaw.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ

                                                    FMS LA WYER PL

                                             By:   Isl Frank Smith
                                                     Frank Smith- FL Bar No. 069681
                                                     9900 Stirling Road, Suite 226
                                                     Cooper City, FL 33 024
                                                     Telephone: 954-985-1400
                                                    Telefax: 954-241-6947
                                                    Email: frank.smith@fmslawyer.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ
                                                    Admitted Pro Hae Vice



                               Page 7 of 8
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 35 of 314
                                 SWORN VERIFICATION

STATE OFF{of\JCA )
         M D'J) ss.
COUNTY OF \(3~; ~ e )

       JORGE PEREZ as Manager of EMPOWER H.I.S. LLC, the person signing these answers

to interrogatories 1 being duly sworn on oath states that he has read the foregoing Responses to

PLAINTIFF'S FIRST SET OF INTERROGATORIES, and the answers given are true and

complete to the best of JORGE PEREZ's information and belief as Manager of EMPOWER H.LS.

LLC.




                                                                        H.l.S. LLC


       The foregoing sworn verification to the Response to PLAINTIFF'S FIRST SET OF

INTERROGATORIES were subscribed and swam to by JORGE PEREZ as Manager of

EMPOWER H.I.S. LLC, before me, a Notary Public, this 1t f~ay of November 2018.




                                            Notary Public
My Commission Expires:




                                          Page 8 of 8

   Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 36 of 314
                  Exhibit F




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 37 of 314
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                         )
et al.,                                                )
                                                       )       CIVIL ACTION NO.:
                               Plaintiffs,             )
                                                       )       15: 18-cv-06037-DGK
v.                                                     )
                                                       )
HOSPITAL PARTNERS INC., eta!.,                         )
                                                       )
                               Defendants.             )
-----------------)
              DEFENDANT HOSPITAL PARTNERS INC.'S RESPONSES TO
                  PLAINTIFF'S FIRST SET OF INTERROGATORIES

        In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant HOSPITAL PARTNERS, INC., ("Defendant"). by and through

their undersigned counsel, hereby responds to Plaintiffs First Set oflnterrogatories, in accordance

with the above-mentioned Rules.

                                     GENERAL PARAMETERS

        1.     To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

        2.     Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including without limitation, any Fed. R. Civ. P. 26 disclosures.

       3.      Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

33, and will not admit any pure legal conclusions.


                                 Page 1 of 8
      Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 38 of 314
        4.      Defendant reserves the right to supplement, correct or otherwise modify its

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

        5.      Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

        6.      Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what it believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

        7.      Defendant's provision of any information in response to Plaintiffs First Set of

Interrogatories is not a concession as to the admissibility of such information or document.

Defendant reserves all objections as to admissibility.

        8.      Defendant has reviewed any proposed instructions, but will only adhere to same to

the extent the instructions are not in conflict with the applicable Rules.

        9.      Subject to the above General Parameters, Defendant responds to the Plaintiffs First

Set of Interrogatories, as follows:

                            RESPONSES TO INTERROGATORIES

        1.      INTERROGATORY NO. I: How much did you receive, whether directly or

indirectly, as a result oflaboratory tests that were billed through PCMH, and how was that amount

calculated 7

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged




                                Page 2 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 39 of 314
         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 2016?

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Further objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         3.     INTERROGATORY NO. 3: Have you returned any of the money that you received

for services that were billed through PCMH? If not, please explain why you have not returned the

money.

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Further objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any




                                Page 3 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 40 of 314
        objections, Defendant is unaware of any amounts received directly or indirectly, as a result

        of laboratory tests that were billed through PCMH, and notes that as a service provider, or

        derivatively through a service provider, Defendant would have no actual knowledge of the

        "source" of any paid funds, except that they came from the general accounts of PCMH.

       Defendant is further unaware of any basis to return any funds to PCMH by any party.

       4.      INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       5.      INTERROGATORY NO. 5: Have you or any of your employees ever suggested to

anyone (excluding your attorneys) that the billing arrangement for laboratory services at PCMH

was improper, illegal, or impermissible? If yes, please explain.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       6.      INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?




                                Page 4 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 41 of 314
        RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

        and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary financial

       information of Defendant. In an effoti to answer the interrogatory, without waiving any

       objections, Defendant is unaware of any amounts received directly or indirectly, as a result

       of laboratory tests that were billed through PCMH, and notes that as a service provider, or

       derivatively through a service provider, Defendant would have no actual knowledge of the

       "source" of any paid funds, except that they came from the general accounts of PCMH.

       Defendant is further unaware of any basis to return any funds to PCMH by any party.

       7.      INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs

through PCMH or using PCMH-related identifiers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did.

       8.      INTERROGATORY NO. 8: Identify every person who patiicipated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer who handled their laboratory billing. This interrogatory also

       seems to be requesting the identification every employee of any Plaintiff, every employee

       of any Defendant, all employees of PCMH, all doctors of PCMH, and all patients who

       ultimately received laboratory tests and/or results.

       9.     INTERROGATORY NO. 9: Who initially proposed or suggested that you bill




                                Page 5 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 42 of 314
laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did, but Defendant notes that he is

       unaware of the scenario implied in the interrogatory.

       10.    INTERROGATORY NO. 10: Do you still do business with any of the defendants?

If not, please explain why. If yes, please describe your current relationship with each such

defendant.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary information

       of Defendant.

       11.    INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

      billing arrangement at PCMH, and accordingly has no basis to answer the proposed

      interrogatory. Defendant fmther suggests that only PCMH can answer as to their

      communication with third-parties.




                               Page 6 of 8
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 43 of 314
       12.    INTERROGATORY NO. 12: Are you currently participating m any other

laboratory-billing arrangement like the one at PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary information

       of Defendant. In an effort to answer the interrogatory, without waiving any objections,

       Defendant is not currently in the laboratory business.


                                                    Respectfully submitted,

                                                     CHAPMAN AND COWHERD, P.C.
                                             By:   Isl Lauren A. Horsman
                                                     Lauren A. Horsman - Mo Bar No. 60982
                                                     903 Jackson-P.O. Box 228
                                                     Chillicothe, MO 64601
                                                    Telephone: 660-646-0627
                                                    Telefax: 660-646-1105
                                                    E-mail: lhorsman@ccttlaw.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ

                                                    FMS LAWYER PL

                                            By:    Isl Frank Smith
                                                     Frank Smith- FL Bar No. 069681
                                                     9900 Stirling Road, Suite 226
                                                     Cooper City, FL 33024
                                                     Telephone: 954-985-1400
                                                     Telefax: 954-241-6947
                                                    Email: frank.smith@fmslawyer.com
                                                    ATTORNEY FOR DEFENDANTS
                                                    HOSPITAL PARTNERS, INC.,
                                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                                    and JORGE PEREZ
                                                    Admitted Pro Hae Vice



                               Page 7 of 8
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 44 of 314
                               SWORN VERIFICATION




      JORGE PEREZ as CEO of HOSPITAL PARTNERS, INC., the person signing these

answers to interrogatories, being duly sworn on oath states that he has read the foregoing

Responses to PLAINTIFF'S FIRST SET OF INTERROGATORIES, and the answers given

arc tme and complete to the best of JORGE PEREZ's information and belief as CEO of

HOSPITAL PARTNERS, INC,




                                                 P!REZ
                                                 o ~HOSPITAL PARTNERS, INC.


      The foregoing sworn verificatiori to the Response to PLAINTIFF'S FIRST SET OF

INTERROGATORIES were subscribed and sworn to by JORGE PEREZ as CEO of HO SPITAL

PARTNERS, INC., before me, a Notary Public, this 1/, -f~ay ofNovember 2018.




                                         N~
My Commission Expires:




                                       Page 8 of 8

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                 Exhibit G




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 46 of 314
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                         )
et al.,                                                )
                                                       )       CIVIL ACTION NO.:
                               Plaintiffs,             )
                                                       )       1: 18-cv-O 1304-MLB
V.                                                     )
                                                       )
HOSPITAL PARTNERS INC., et al.,                        )
                                                       )
                               Defendants.             )
___________                                            )

                      DEFENDANT JORGE PEREZ'S RESPONSES TO
                     PLAINTIFF'S FIRST SET OF INTERROGATORIES

          In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant JORGE PEREZ, ("Defendant"), by and through their undersigned

counsel, hereby responds to Plaintiffs First Set oflnterrogatories, in accordance with the above-

mentioned Rules.

                                     GENERAL PARAMETERS

          1.     To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

          2.    Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including without limitation any Fed. R. Civ. P. 26 disclosures.

          3.    Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

33, and will not admit any pure legal conclusions.


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      Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 47 of 314
        4.      Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

        5.      Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

        6.      Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon his understanding of what he believes is a defective Complaint, and speculating

as to what may be the ultimate scope of discovery under Rule 26.

        7.      Defendant's provision of any information in response to Plaintiffs First Set of

Interrogatories is not a concession as to the admissibility of such information or document.

Defendant reserves all objections as to admissibility.

       8.       Defendant has reviewed any proposed instructions, but will only adhere to same, to

the extent the instructions are not in conflict with the applicable Rules.

       9.       Subject to the above General Parameters, Defendant responds to the Plaintiffs First

Set of Interrogatories, as follows:

                            RESPONSES TO INTERROGATORIES

       1.       INTERROGATORY NO. 1: How much did you receive, whether directly or

indirectly, as a result oflaboratory tests that were billed through PCMH, and how was that amount

calculated?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged




                                Page 2 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 48 of 314
         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an eff01i to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 2016?

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Further objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any

         objections, Defendant is unaware of any amounts received directly or indirectly, as a result

         of laboratory tests that were billed through PCMH, and notes that as a service provider, or

         derivatively through a service provider, Defendant would have no actual knowledge of the

         "source" of any paid funds, except that they came from the general accounts of PCMH.

         3.     INTERROGATORY NO. 3: Have you returned any of the money that you received

for services that were billed through PCMH? If not, please explain why you have not returned the

money.

         RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

         and not reasonably calculated to lead to admissible evidence. Further objection is lodged

         as to this being an improper request for private, confidential and proprietary financial

         information of Defendant. In an effort to answer the interrogatory, without waiving any




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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 49 of 314
        objections, Defendant is unaware of any amounts received directly or indirectly, as a result

        of laboratory tests that were billed through PCMH, and notes that as a service provider, or

        derivatively through a service provider, Defendant would have no actual knowledge of the

        "source" of any paid funds, except that they came from the general accounts of PCMH.

       Defendant is further unaware of any basis to return any funds to PCMH by any party.

       4.      INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing atTangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       5.      INTERROGATORY NO. 5: Have you or any of your employees ever suggested to

anyone (excluding your attorneys) that the billing arrangement for laboratory services at PCMH

was improper, illegal, or impermissible? If yes, please explain.

       RESPONSE: Defendant objects to this interrogato1y as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory.

       6.      INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?




                                Page 4 of 8
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 50 of 314
       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary financial

       information of Defendant. In an effort to answer the interrogatory, without waiving any

       objections, Defendant is unaware of any amounts received directly or indirectly, as a result

       of laboratory tests that were billed through PCMH, and notes that as a service provider, or

       derivatively through a service provider, Defendant would have no actual knowledge of the

       "source" of any paid funds, except that they came from the general accounts of PCMH.

       Defendant is fmther unaware of any basis to return any funds to PCMH by any patty.

       7.      INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs

through PCMH or using PCMH-related identifiers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did.

       8.      INTERROGATORY NO. 8: Identify every person who paiticipated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant fmther suggests

       that only PCMH can answer who handled their laboratory billing. This interrogatory also

       seems to be requesting the identification every employee of any Plaintiff, every employee

       of any Defendant, all employees of PCMH, all doctors of PCMH, and all patients who

       ultimately received laboratory tests and/or results.

       9.     INTERROGATORY NO. 9: Who initially proposed or suggested that you bill




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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 51 of 314
laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Defendant further suggests

       that only PCMH can answer why they did, what they did, but Defendant notes that he is

       unaware of the scenario implied in the inte1rngatory.

       10.    INTERROGATORY NO. 10: Do you still do business with any of the defendants?

If not, please explain why. If yes, please describe your current relationship with each such

defendant.

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Fmther objection is lodged

       as to this being an improper request for private, confidential and proprietary information

       of Defendant.

       11.    INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. In an effort to answer the

       interrogatory, without waiving any objections, Defendant is unaware of any improper

       billing arrangement at PCMH, and accordingly has no basis to answer the proposed

       interrogatory. Defendant further suggests that only PCMH can answer as to their

      communication with third-parties.




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       12.    INTERROGATORY NO. 12: Are you currently participating m any other

laboratory-billing arrangement like the one at PCMH?

       RESPONSE: Defendant objects to this interrogatory as overbroad, unduly burdensome

       and not reasonably calculated to lead to admissible evidence. Further objection is lodged

       as to this being an improper request for private, confidential and proprietary information

       of Defendant. In an effort to answer the interrogatory, without waiving any objections,

      Defendant is not cunently in the laboratory business.



                                                   Respectfully submitted,

                                                    CHAPMAN AND COWHERD, P.C.
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                                                   Lauren A. Horsman - Mo Bar No. 60982
                                                    903 Jackson-P.O. Box 228
                                                    Chillicothe, MO 64601
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                                                   ATTORNEY FOR DEFENDANTS
                                                   HOSPITAL PARTNERS, INC.,
                                                   EMPOWER H.I.S., LLC, DAVID BYRNS
                                                   and JORGE PEREZ

                                                   FMS LA WYER PL

                                            By:   Isl Frank Smith
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                                                   HOSPITAL PARTNERS, INC.,
                                                   EMPOWER H.I.S., LLC, DAVID BYRNS
                                                   and JORGE PEREZ



                               Page 7 of 8
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 53 of 314
                                                   Admitted Pro Hae Vice

                                   SWORN VERIFICATION

STATE OF    r lov,· J9'ad))
              N
COUNTY OF I iiar,\: ..   o~ ss.
       JORGE PEREZ, the person signing these answers to interrogatories 1 being duly swom on

oath states that he has read the foregoing Responses to PLAINTIFF'S FIRST SET OF

INTERROGATORIES, and the answers given are true and complete to the best of JORGE

PEREZ's, information and belief.




       The foregoing sworn verification to the Response to PLAINTIFF'S FIRST SET OF

INTERROGATORIES were subscribed and sworn to by JORGE PEREZ, before me, a Notary

Public, this 1. b+~ay of November 2018.




                                           Notary Public
My Commission Expires:




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                Exhibit H




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 55 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

         DEFENDANT EMPOWER H.I.S., LLC’S RESPONSE TO PLAINTIFFS’
                FIRST SET OF REQUESTS FOR PRODUCTION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the Western

District of Missouri, Defendant EMPOWER H.I.S. LLC (“Defendant”), by and through its

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in

accordance with the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


                                Page 1 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 56 of 314
papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame, where

no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain and which is not otherwise (except as copies of the public records or public domain) in the

files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, its

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       9.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what he believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

       10.      Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       11.      Defendant has reviewed any proposed instructions, but will only adhere to same to




                                Page 2 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 57 of 314
the extent the instructions are not in conflict with the applicable Rules.

       12.     Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Production, as follows:

                     RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant regarding

the laboratory billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an


                                Page 3 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 58 of 314
       indispensable party.

       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or claim

submission purposes.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used for billing




                                Page 4 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 59 of 314
       or claim submission purposes. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used to secure

       higher reimbursement for laboratory tests. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




                                Page 5 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 60 of 314
       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information alleged to be

       connected to a “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at

       a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       7.       REQUEST NO. 7: All documents addressing, discussing, describing, or analyzing

the Contract.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information about PCMH’s

       contract with Plaintiffs, but is unclear. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       8.       REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as




                                Page 6 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 61 of 314
       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or individual

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       10.    REQUEST NO. 10: All documents related to indemnity agreements or provisions

with any party to this litigation or with PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




                                Page 7 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 62 of 314
       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       11.     REQUEST NO. 11: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.




                                Page 8 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 63 of 314
       12.    REQUEST NO. 12: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       13.    REQUEST NO. 13: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1, 2016.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests, and seeks everything where PCMH or its identifiers were used for laboratory

       tests. Further, to the extent that PCMH information is sought, such information would

       properly be sought from PCMH, who Defendant maintains, is an indispensable party.

       Defendant also notes, that this information may be available from other Defendants, to the




                                Page 9 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 64 of 314
        extent the information is properly sought.

        14.     REQUEST NO. 14: All documents that You contend establish the propriety of the

claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s identifiers

since January 1, 2016.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request seeks documents to “establish

        the propriety of the claims for laboratory tests,” and Defendant simply has no idea what

        that means. Further, to the extent that PCMH information is sought, such information

        would properly be sought from PCMH, who Defendant maintains, is an indispensable

        party. Defendant also notes, that this information may be available from other Defendants,

        to the extent the information is properly sought.

        15.     REQUEST NO. 15: All documents related to the provision of laboratory tests that

were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request is much broader than the prior

        requests, and seeks everything “related to the provision of laboratory tests that were billed




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       to Plaintiffs through PCMH, including treatment notes, test order forms (i.e., requisitions),

       test results, and transmittal of test results to ordering providers.” Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party. Defendant also notes, that this

       information may be available from other Defendants, to the extent the information is

       properly sought.

       16.     REQUEST NO. 16: All documents related to the provision of laboratory tests that

(a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor outpatients

of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “provision of laboratory tests that (a) PCMH did not

       perform; or (b) were for individuals who were neither inpatients nor outpatients of PCMH

       or were not under the medical supervision of PCMH-credentialed providers,” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       17.     REQUEST NO. 17: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “to the billing of claims for laboratory tests that (a)

       PCMH did not perform; or (b) were for individuals who were neither inpatients nor

       outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

       providers,” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       18.     REQUEST NO. 18: All documents used to market or promote the use of hospitals

to bill for laboratory tests that (a) were not performed by the hospitals billing the claims; or (b)

were for individuals who were neither inpatients nor outpatients of the hospitals billing the claims

or who were not under the medical supervision of providers credentialed by the hospitals.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the use of hospitals to bill

       for laboratory tests that (a) PCMH did not perform; or (b) were for individuals who were

       neither inpatients nor outpatients of PCMH or were not under the medical supervision of

       PCMH-credentialed providers,” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information




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       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       19.     REQUEST NO. 19: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the laboratory-billing

       scheme to providers, laboratories, or any other party,” of which Defendant is unaware, or

       at a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       20.     REQUEST NO. 20: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to the generation or acquisition of

       patient specimens for laboratory tests billed to Plaintiffs through PCMH,” which

       appears to be the sum total of all of PCMH’s information. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who




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       Defendant maintains, is an indispensable party.

       21.     REQUEST NO. 21: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll communications with any provider who ordered

       laboratory tests that were billed to Plaintiffs through PCMH,” which appears to be the

       sum total of all of PCMH’s lab information. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       22.     REQUEST NO. 22: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to the shipment of any specimens

       taken from Plaintiffs’ members, where the testing of such specimens was billed to

       Plaintiffs through PCMH or using PCMH’s identifiers,” which appears to be the sum

       total of all of PCMH’s lab information again. Further, to the extent that PCMH information




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       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       23.     REQUEST NO. 23: Documents sufficient to identify, for the laboratory tests billed

by PCMH to Plaintiffs, where each such test was ordered from, where it was performed, who

reported the results to the ordering provider, and who billed it.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[d]ocuments sufficient to identify, for the laboratory tests

       billed by PCMH to Plaintiffs, where each such test was ordered from, where it was

       performed, who reported the results to the ordering provider, and who billed it,”

       which appears to be a large portion of PCMH’s lab information. Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       24.     REQUEST NO. 24: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about

the laboratory tests at issue to anyone.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This request could very well be asking for any information related to any lab business




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        anywhere in the world.

        25.     REQUEST NO. 25: Any assignment of benefits received from Plaintiffs’ members

for the laboratory tests at issue.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. In order for anyone to possible craft a reasonable response, they would have to know

        all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

        “assignment of benefits.” Even then, the request would be objectionable.

        26.     REQUEST NO. 26: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

        Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

        to the extent that PCMH information is sought, such information would properly be sought

        from PCMH, who Defendant maintains, is an indispensable party.

        27.     REQUEST NO. 27: All documents related to directives regarding laboratory

billings at PCMH.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to directives regarding laboratory

       billings at PCMH,” which appears to be a large portion of PCMH’s lab information.

       Further, to the extent that PCMH information is sought, such information would properly

       be sought from PCMH, who Defendant maintains, is an indispensable party.

       28.    REQUEST NO. 28: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Defendant would direct Plaintiffs to the applicable State and Federal Laws, Codes

       and Rules.

       29.    REQUEST NO. 29: All documents related to why the laboratory tests at issue were

billed through PCMH rather than any by any other hospital or laboratory.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seems to be seeking information as to the thought process behind certain

       of PCMH’s actions, which would appear to be an improper request. Further, to the extent




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       that PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       30.    REQUEST NO. 30: All documents related to defendants’ efforts to collect copays

or coinsurance obligations from Plaintiffs’ members.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. In order for anyone to possible craft a reasonable response, they would have to know

       all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

       “efforts to collect copays or coinsurance obligations.” Even then, the request would be

       objectionable. It is also noted that this request is not restricted to PCMH or any one (1)

       defendant.

       31.    REQUEST NO. 31: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought




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       from PCMH, who Defendant maintains, is an indispensable party. In this case, Defendant

       does not believe any responsive documents would exist.

       32.     REQUEST NO. 32: All documents relating to any questions or concerns from any

provider, member, or payor regarding why claims for laboratory tests were billed through PCMH,

or why the questioning the propriety of amounts billed or owed.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to any questions or concerns from

       any provider, member, or payor regarding why claims for laboratory tests were billed

       through PCMH, or why the questioning the propriety of amounts billed or owed,”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       33.     REQUEST NO. 33: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH’s employment and HR files. Further, to

       the extent that PCMH information is sought, such information would properly be sought




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        from PCMH, who Defendant maintains, is an indispensable party.

        34.        REQUEST NO. 34: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense in

this litigation.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. Further, until this matter is at issue, Defendant could not possibly “know” what

        defenses will be applicable.

        35.        REQUEST NO. 35: All documents related to any defendants’ efforts to conceal or

explain the laboratory-billing scheme.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to “efforts to conceal or explain” a “laboratory-billing

        scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not

        understand as defined. Further, to the extent that PCMH information is sought, such

        information would properly be sought from PCMH, who Defendant maintains, is an

        indispensable party.

        36.        REQUEST NO. 36: All documents related to the receipt of payment from

Plaintiffs for the laboratory-billing scheme.




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to “receipt of payment” for a “laboratory-billing scheme

       at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       37.      REQUEST NO. 37: All documents relating to amounts paid or owed to any entity

or individual because of the laboratory-billing scheme at PCMH, including agreements setting

forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       38.      REQUEST NO. 38: All documents relating to the payment by any defendant of

anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is simply unintelligible.

       39.     REQUEST NO. 39: All documents provided to or received from the Missouri State

Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or law

enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is not connected to PCMH or anything else, but simply requests the

       universe of lifelong documents received by Defendant.

       40.     REQUEST NO. 40: All documents discussing or responding to Plaintiffs’

investigation of the laboratory-billing scheme.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought




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       from PCMH, who Defendant maintains, is an indispensable party.

       41.    REQUEST NO. 41: All documents relating to any public statement, press release,

or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       42.    REQUEST NO. 42: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents tabulating amounts billed or received by

       PCMH for laboratory tests since January 1, 2016 (or any length of time therein),”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.




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       43.    REQUEST NO. 43: All documents related to proposals and revenue projections

for services that were billed through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll related to proposals and revenue projections for services

       that were billed through PCMH,” which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       44.    REQUEST NO. 44: All documents related to the dissolution or closure of any

defendant.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       45.    REQUEST NO. 45: All documents related to any travel that you or your

employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. The request appears to seek voluminous amounts of documents, of any travel of

       numerous persons, at any time, for any purpose, and without restriction.

       46.     REQUEST NO. 46: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to demand or cease-and-desist letters

       sent to or received from any defendant, individual, or entity related to PCMH,” which

       appears to be every possible demand or C&D that ever mentioned PCMH. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       47.     REQUEST NO. 47: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to the termination of contracts,

       agreements, or relationships with any of the defendants,” which appears to be every

       possible termination of any contract ever entered into by any of the defendants.




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        48.    REQUEST NO. 48: All documents related to litigation with any of the defendants,

including all documents produced and received in discovery, all pleadings, and all deposition

transcripts.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents related to litigation with any of the

        defendants, including all documents produced and received in discovery, all

        pleadings, and all deposition transcripts,” which appears to be every possible litigation

        paper involving defendants.

        49.    REQUEST NO. 49: All documents relating to business or managerial changes that

you have made since learning of concerns about the billing arrangement for laboratory services at

PCMH.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents relating to business or managerial changes,”

        although limited to some unknown time frame.

        50.    REQUEST NO. 50: All documents related to the return of money that you received

as a result of laboratory tests that were billed through PCMH since January 1, 2016.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks information which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       51.    REQUEST NO. 51: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       52.    REQUEST NO. 52: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all payments made to Defendant

       by PCMH, which is simply improper at this stage of the case. Further, to the extent that




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       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       53.     REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of all payments made to or from

       any Defendant without restriction from January 1, 2016, which is simply improper at this

       stage of the case.

       54.     REQUEST NO. 54: Documents sufficient to show the details from January 1, 2016

to the present of all transactions (including receipts, deposits, payments, transfers, withdrawals,

purchases, credit-card transactions, etc.) in any accounts under Your control at financial

institutions that received funds from PCMH, directly or indirectly. The details shall include

periodic statement issued for any such account, the identity of the financial organization, the

account number, the name and address of the account holder, and (for each transaction), the date

of the transaction, the amount of money involved, the type of transaction, the resulting balance of

the account, the identity of every individual or organization that was a party to the transaction,

copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all accounts of Defendant that

       may have received any monies from PCMH, which is simply improper at this stage of the

       case.

       55.        REQUEST NO. 55: All documents used to, or that could be used to, reconcile the

claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking documents which would allow Plaintiffs to

       determine what they paid, or what claims they received?

       56.        REQUEST NO. 56: All current financial statements and documents showing Your

current assets.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all of Defendant’s finances, which

       is simply improper at this stage of the case.

       57.        REQUEST NO. 57: All documents related to the current location of any funds that

you received from laboratory tests that were billed through PCMH since January 1, 2016, or any




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real or personal property purchased with that money with a value in excess of $20,000.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of some indeterminate funds,

       which would simply be impossible to trace.

       58.      REQUEST NO. 58: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents related

to tenders, coverage denials, or reservations of rights.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is presumably directed to PCMH’s insurance policies, but contains no

       restrictions. Further, to the extent that PCMH information is sought, such information

       would properly be sought from PCMH, who Defendant maintains, is an indispensable

       party.

                                                      Respectfully submitted,

                                                       CHAPMAN AND COWHERD, P.C.
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                                     ATTORNEY FOR DEFENDANTS
                                     HOSPITAL PARTNERS, INC.,
                                     EMPOWER H.I.S., LLC, DAVID BYRNS
                                     and JORGE PEREZ

                                     FMS LAWYER PL

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                                      EMPOWER H.I.S., LLC, DAVID BYRNS
                                      and JORGE PEREZ
                                      Admitted Pro Hac Vice




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                  Exhibit I




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

     DEFENDANT HOSPITAL PARTNERS, INC.’S RESPONSE TO PLAINTIFFS’
               FIRST SET OF REQUESTS FOR PRODUCTION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the Western

District of Missouri, Defendant HOSPITAL PARTNERS, INC. (“Defendant”), by and through its

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in

accordance with the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


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papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame, where

no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain, and which is not otherwise (except as copies of the public records or public domain) in

the files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, its

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       9.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what he believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

       10.      Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       11.      Defendant has reviewed any proposed instructions, but will only adhere to same, to




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the extent the instructions are not in conflict with the applicable Rules.

       12.     Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Production, as follows:

                     RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant regarding

the laboratory billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an


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       indispensable party.

       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or claim

submission purposes.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used for billing




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       or claim submission purposes. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used to secure

       higher reimbursement for laboratory tests. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information alleged to be

       connected to a “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at

       a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       7.       REQUEST NO. 7: All documents addressing, discussing, describing, or analyzing

the Contract.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information about PCMH’s

       contract with Plaintiffs, but is unclear. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       8.       REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as




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       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or individual

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       10.    REQUEST NO. 10: All documents related to indemnity agreements or provisions

with any party to this litigation or with PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       11.     REQUEST NO. 11: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.




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       12.    REQUEST NO. 12: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       13.    REQUEST NO. 13: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1, 2016.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests, and seeks everything where PCMH or its identifiers were used for laboratory

       tests. Further, to the extent that PCMH information is sought, such information would

       properly be sought from PCMH, who Defendant maintains, is an indispensable party.

       Defendant also notes, that this information may be available from other Defendants, to the




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        extent the information is properly sought.

        14.     REQUEST NO. 14: All documents that You contend establish the propriety of the

claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s identifiers

since January 1, 2016.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request seeks documents to “establish

        the propriety of the claims for laboratory tests,” and Defendant simply has no idea what

        that means. Further, to the extent that PCMH information is sought, such information

        would properly be sought from PCMH, who Defendant maintains, is an indispensable

        party. Defendant also notes, that this information may be available from other Defendants,

        to the extent the information is properly sought.

        15.     REQUEST NO. 15: All documents related to the provision of laboratory tests that

were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request is much broader than the prior

        requests, and seeks everything “related to the provision of laboratory tests that were billed




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       to Plaintiffs through PCMH, including treatment notes, test order forms (i.e., requisitions),

       test results, and transmittal of test results to ordering providers.” Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party. Defendant also notes, that this

       information may be available from other Defendants, to the extent the information is

       properly sought.

       16.     REQUEST NO. 16: All documents related to the provision of laboratory tests that

(a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor outpatients

of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “provision of laboratory tests that (a) PCMH did not

       perform; or (b) were for individuals who were neither inpatients nor outpatients of PCMH

       or were not under the medical supervision of PCMH-credentialed providers,” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       17.     REQUEST NO. 17: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “to the billing of claims for laboratory tests that (a)

       PCMH did not perform; or (b) were for individuals who were neither inpatients nor

       outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

       providers,” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       18.     REQUEST NO. 18: All documents used to market or promote the use of hospitals

to bill for laboratory tests that (a) were not performed by the hospitals billing the claims; or (b)

were for individuals who were neither inpatients nor outpatients of the hospitals billing the claims

or who were not under the medical supervision of providers credentialed by the hospitals.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the use of hospitals to bill

       for laboratory tests that (a) PCMH did not perform; or (b) were for individuals who were

       neither inpatients nor outpatients of PCMH or were not under the medical supervision of

       PCMH-credentialed providers,” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information




                                Page 12 of 31
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       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       19.     REQUEST NO. 19: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the laboratory-billing

       scheme to providers, laboratories, or any other party,” of which Defendant is unaware, or

       at a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       20.     REQUEST NO. 20: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to the generation or acquisition of

       patient specimens for laboratory tests billed to Plaintiffs through PCMH,” which

       appears to be the sum total of all of PCMH’s information. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who




                                Page 13 of 31
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 100 of 314
       Defendant maintains, is an indispensable party.

       21.     REQUEST NO. 21: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll communications with any provider who ordered

       laboratory tests that were billed to Plaintiffs through PCMH,” which appears to be the

       sum total of all of PCMH’s lab information. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       22.     REQUEST NO. 22: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to the shipment of any specimens

       taken from Plaintiffs’ members, where the testing of such specimens was billed to

       Plaintiffs through PCMH or using PCMH’s identifiers,” which appears to be the sum

       total of all of PCMH’s lab information again. Further, to the extent that PCMH information




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       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       23.     REQUEST NO. 23: Documents sufficient to identify, for the laboratory tests billed

by PCMH to Plaintiffs, where each such test was ordered from, where it was performed, who

reported the results to the ordering provider, and who billed it.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[d]ocuments sufficient to identify, for the laboratory tests

       billed by PCMH to Plaintiffs, where each such test was ordered from, where it was

       performed, who reported the results to the ordering provider, and who billed it,”

       which appears to be a large portion of PCMH’s lab information. Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       24.     REQUEST NO. 24: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about

the laboratory tests at issue to anyone.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This request could very well be asking for any information related to any lab business




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        anywhere in the world.

        25.     REQUEST NO. 25: Any assignment of benefits received from Plaintiffs’ members

for the laboratory tests at issue.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. In order for anyone to possible craft a reasonable response, they would have to know

        all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

        “assignment of benefits.” Even then, the request would be objectionable.

        26.     REQUEST NO. 26: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

        Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

        to the extent that PCMH information is sought, such information would properly be sought

        from PCMH, who Defendant maintains, is an indispensable party.

        27.     REQUEST NO. 27: All documents related to directives regarding laboratory

billings at PCMH.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to directives regarding laboratory

       billings at PCMH,” which appears to be a large portion of PCMH’s lab information.

       Further, to the extent that PCMH information is sought, such information would properly

       be sought from PCMH, who Defendant maintains, is an indispensable party.

       28.    REQUEST NO. 28: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Defendant would direct Plaintiffs to the applicable State and Federal Laws, Codes

       and Rules.

       29.    REQUEST NO. 29: All documents related to why the laboratory tests at issue were

billed through PCMH rather than any by any other hospital or laboratory.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seems to be seeking information as to the thought process behind certain

       of PCMH’s actions, which would appear to be an improper request. Further, to the extent




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       that PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       30.    REQUEST NO. 30: All documents related to defendants’ efforts to collect copays

or coinsurance obligations from Plaintiffs’ members.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. In order for anyone to possible craft a reasonable response, they would have to know

       all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

       “efforts to collect copays or coinsurance obligations.” Even then, the request would be

       objectionable. It is also noted that this request is not restricted to PCMH or any one (1)

       defendant.

       31.    REQUEST NO. 31: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought




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       from PCMH, who Defendant maintains, is an indispensable party. In this case, Defendant

       does not believe any responsive documents would exist.

       32.     REQUEST NO. 32: All documents relating to any questions or concerns from any

provider, member, or payor regarding why claims for laboratory tests were billed through PCMH,

or why the questioning the propriety of amounts billed or owed.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to any questions or concerns from

       any provider, member, or payor regarding why claims for laboratory tests were billed

       through PCMH, or why the questioning the propriety of amounts billed or owed,”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       33.     REQUEST NO. 33: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH’s employment and HR files. Further, to

       the extent that PCMH information is sought, such information would properly be sought




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        from PCMH, who Defendant maintains, is an indispensable party.

        34.        REQUEST NO. 34: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense in

this litigation.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. Further, until this matter is at issue, Defendant could not possibly “know” what

        defenses will be applicable.

        35.        REQUEST NO. 35: All documents related to any defendants’ efforts to conceal or

explain the laboratory-billing scheme.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to “efforts to conceal or explain” a “laboratory-billing

        scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not

        understand as defined. Further, to the extent that PCMH information is sought, such

        information would properly be sought from PCMH, who Defendant maintains, is an

        indispensable party.

        36.        REQUEST NO. 36: All documents related to the receipt of payment from

Plaintiffs for the laboratory-billing scheme.




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to “receipt of payment” for a “laboratory-billing scheme

       at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       37.      REQUEST NO. 37: All documents relating to amounts paid or owed to any entity

or individual because of the laboratory-billing scheme at PCMH, including agreements setting

forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       38.      REQUEST NO. 38: All documents relating to the payment by any defendant of

anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is simply unintelligible.

       39.     REQUEST NO. 39: All documents provided to or received from the Missouri State

Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or law

enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is not connected to PCMH or anything else, but simply requests the

       universe of lifelong documents received by Defendant.

       40.     REQUEST NO. 40: All documents discussing or responding to Plaintiffs’

investigation of the laboratory-billing scheme.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought




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       from PCMH, who Defendant maintains, is an indispensable party.

       41.    REQUEST NO. 41: All documents relating to any public statement, press release,

or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       42.    REQUEST NO. 42: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents tabulating amounts billed or received by

       PCMH for laboratory tests since January 1, 2016 (or any length of time therein),”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.




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       43.    REQUEST NO. 43: All documents related to proposals and revenue projections

for services that were billed through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll related to proposals and revenue projections for services

       that were billed through PCMH,” which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       44.    REQUEST NO. 44: All documents related to the dissolution or closure of any

defendant.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       45.    REQUEST NO. 45: All documents related to any travel that you or your

employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. The request appears to seek voluminous amounts of documents, of any travel of

       numerous persons, at any time, for any purpose, and without restriction.

       46.     REQUEST NO. 46: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to demand or cease-and-desist letters

       sent to or received from any defendant, individual, or entity related to PCMH,” which

       appears to be every possible demand or C&D that ever mentioned PCMH. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       47.     REQUEST NO. 47: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to the termination of contracts,

       agreements, or relationships with any of the defendants,” which appears to be every

       possible termination of any contract ever entered into by any of the defendants.




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        48.    REQUEST NO. 48: All documents related to litigation with any of the defendants,

including all documents produced and received in discovery, all pleadings, and all deposition

transcripts.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents related to litigation with any of the

        defendants, including all documents produced and received in discovery, all

        pleadings, and all deposition transcripts,” which appears to be every possible litigation

        paper involving defendants.

        49.    REQUEST NO. 49: All documents relating to business or managerial changes that

you have made since learning of concerns about the billing arrangement for laboratory services at

PCMH.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents relating to business or managerial changes,”

        although limited to some unknown time frame.

        50.    REQUEST NO. 50: All documents related to the return of money that you received

as a result of laboratory tests that were billed through PCMH since January 1, 2016.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks information which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       51.    REQUEST NO. 51: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       52.    REQUEST NO. 52: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all payments made to Defendant

       by PCMH, which is simply improper at this stage of the case. Further, to the extent that




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       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       53.     REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of all payments made to or from

       any Defendant without restriction from January 1, 2016, which is simply improper at this

       stage of the case.

       54.     REQUEST NO. 54: Documents sufficient to show the details from January 1, 2016

to the present of all transactions (including receipts, deposits, payments, transfers, withdrawals,

purchases, credit-card transactions, etc.) in any accounts under Your control at financial

institutions that received funds from PCMH, directly or indirectly. The details shall include

periodic statement issued for any such account, the identity of the financial organization, the

account number, the name and address of the account holder, and (for each transaction), the date

of the transaction, the amount of money involved, the type of transaction, the resulting balance of

the account, the identity of every individual or organization that was a party to the transaction,

copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all accounts of Defendant that

       may have received any monies from PCMH, which is simply improper at this stage of the

       case.

       55.        REQUEST NO. 55: All documents used to, or that could be used to, reconcile the

claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking documents which would allow Plaintiffs to

       determine what they paid, or what claims they received?

       56.        REQUEST NO. 56: All current financial statements and documents showing Your

current assets.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all of Defendant’s finances, which

       is simply improper at this stage of the case.

       57.        REQUEST NO. 57: All documents related to the current location of any funds that

you received from laboratory tests that were billed through PCMH since January 1, 2016, or any




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real or personal property purchased with that money with a value in excess of $20,000.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of some indeterminate funds,

       which would simply be impossible to trace.

       58.      REQUEST NO. 58: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents related

to tenders, coverage denials, or reservations of rights.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is presumably directed to PCMH’s insurance policies, but contains no

       restrictions. Further, to the extent that PCMH information is sought, such information

       would properly be sought from PCMH, who Defendant maintains, is an indispensable

       party.

                                                      Respectfully submitted,

                                                       CHAPMAN AND COWHERD, P.C.
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                                      ATTORNEY FOR DEFENDANTS
                                      HOSPITAL PARTNERS, INC.,
                                      EMPOWER H.I.S., LLC, DAVID BYRNS
                                      and JORGE PEREZ

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                                       and JORGE PEREZ
                                       Admitted Pro Hac Vice




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                   Exhibit J




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 119 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

             DEFENDANT JORGE PEREZ’S RESPONSE TO PLAINTIFFS’
                  FIRST SET OF REQUESTS FOR PRODUCTION

               In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the

Western District of Missouri, Defendant, JORGE PEREZ (“Defendant”), by and through his

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in

accordance with the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


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papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame, where

no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain, and which is not otherwise (except as copies of the public records or public domain) in

the files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       9.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon his understanding of what he believes is a defective Complaint, and speculating

as to what may be the ultimate scope of discovery under Rule 26.

       10.      Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       11.      Defendant has reviewed any proposed instructions, but will only adhere to same, to




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the extent the instructions are not in conflict with the applicable Rules.

       12.     Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Production, as follows:

                     RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant regarding

the laboratory billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an


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       indispensable party.

       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is connected to a “laboratory-

       billing scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant

       does not understand as defined. Further, to the extent that PCMH information is sought,

       such information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or claim

submission purposes.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used for billing




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       or claim submission purposes. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests and is not only connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined, but

       seeks everything where PCMH’s NPI, TIN, name, or other identifier was used to secure

       higher reimbursement for laboratory tests. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information alleged to be

       connected to a “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at

       a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       7.       REQUEST NO. 7: All documents addressing, discussing, describing, or analyzing

the Contract.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be another way of seeking information about PCMH’s

       contract with Plaintiffs, but is unclear. Further, to the extent that PCMH information is

       sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       8.       REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as




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       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or individual

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking information alleged to be connected to a

       “laboratory-billing scheme at PCMH” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party. Defendant notes that he understands that Plaintiffs

       have previously been provided HPI’s contracts with PCMH, the PCMH Board and Putnam

       County, and further notes that PCMH would have its contracts with the other Defendants.

       10.    REQUEST NO. 10: All documents relating to your relationship with Defendant

Hospital Laboratory Partners, LLC..

Answer: Defendant objects to this request as vague, overly broad, unduly burdensome, harassing,




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and/or seeking information that is irrelevant and/or not reasonably calculated to lead to the

discovery of admissible evidence. The Request may also invade certain applicable privileges, and

appears to seek private, proprietary or restricted information as well.

       11.     REQUEST NO. 11: All documents related to indemnity agreements or provisions

with any party to this litigation or with PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       12.     REQUEST NO. 12: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as




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       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       13.    REQUEST NO. 13: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking PCMH information and, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party. Defendant notes that he understands that

       Plaintiffs have previously been provided HPI’s contracts with PCMH, the PCMH Board

       and Putnam County, and further notes that PCMH would have its contracts with the other

       Defendants.

       14.    REQUEST NO. 14: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1, 2016.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request is much broader than the prior

        requests, and seeks everything where PCMH or its identifiers were used for laboratory

        tests. Further, to the extent that PCMH information is sought, such information would

        properly be sought from PCMH, who Defendant maintains, is an indispensable party.

        Defendant also notes, that this information may be available from other Defendants, to the

        extent the information is properly sought.

        15.     REQUEST NO. 15: All documents that You contend establish the propriety of the

claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s identifiers

since January 1, 2016.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, or the “joint defense doctrine,” and appears to seek private,

        proprietary or restricted information as well. This Request seeks documents to “establish

        the propriety of the claims for laboratory tests,” and Defendant simply has no idea what

        that means. Further, to the extent that PCMH information is sought, such information

        would properly be sought from PCMH, who Defendant maintains, is an indispensable

        party. Defendant also notes, that this information may be available from other Defendants,

        to the extent the information is properly sought.

        16.     REQUEST NO. 16: All documents related to the provision of laboratory tests that

were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, or the “joint defense doctrine,” and appears to seek private,

       proprietary or restricted information as well. This Request is much broader than the prior

       requests, and seeks everything “related to the provision of laboratory tests that were billed

       to Plaintiffs through PCMH, including treatment notes, test order forms (i.e., requisitions),

       test results, and transmittal of test results to ordering providers.” Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party. Defendant also notes, that this

       information may be available from other Defendants, to the extent the information is

       properly sought.

       17.     REQUEST NO. 17: All documents related to the provision of laboratory tests that

(a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor outpatients

of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “provision of laboratory tests that (a) PCMH did not

       perform; or (b) were for individuals who were neither inpatients nor outpatients of PCMH

       or were not under the medical supervision of PCMH-credentialed providers,” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,




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       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       18.     REQUEST NO. 18: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed providers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to the “to the billing of claims for laboratory tests that (a)

       PCMH did not perform; or (b) were for individuals who were neither inpatients nor

       outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

       providers,” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       19.     REQUEST NO. 19: All documents used to market or promote the use of hospitals

to bill for laboratory tests that (a) were not performed by the hospitals billing the claims; or (b)

were for individuals who were neither inpatients nor outpatients of the hospitals billing the claims

or who were not under the medical supervision of providers credentialed by the hospitals.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the use of hospitals to bill

       for laboratory tests that (a) PCMH did not perform; or (b) were for individuals who were

       neither inpatients nor outpatients of PCMH or were not under the medical supervision of

       PCMH-credentialed providers,” of which Defendant is unaware, or at a minimum,

       Defendant does not understand as defined. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       20.     REQUEST NO. 20: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to efforts to “market or promote the laboratory-billing

       scheme to providers, laboratories, or any other party,” of which Defendant is unaware, or

       at a minimum, Defendant does not understand as defined. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       21.     REQUEST NO. 21: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to the generation or acquisition of

       patient specimens for laboratory tests billed to Plaintiffs through PCMH,” which

       appears to be the sum total of all of PCMH’s information. Further, to the extent that PCMH

       information is sought, such information would properly be sought from PCMH, who

       Defendant maintains, is an indispensable party.

       22.     REQUEST NO. 22: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll communications with any provider who ordered

       laboratory tests that were billed to Plaintiffs through PCMH,” which appears to be the

       sum total of all of PCMH’s lab information. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       23.     REQUEST NO. 23: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to the shipment of any specimens

       taken from Plaintiffs’ members, where the testing of such specimens was billed to

       Plaintiffs through PCMH or using PCMH’s identifiers,” which appears to be the sum

       total of all of PCMH’s lab information again. Further, to the extent that PCMH information

       is sought, such information would properly be sought from PCMH, who Defendant

       maintains, is an indispensable party.

       24.     REQUEST NO. 24: Documents sufficient to identify, for the laboratory tests billed

by PCMH to Plaintiffs, where each such test was ordered from, where it was performed, who

reported the results to the ordering provider, and who billed it.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[d]ocuments sufficient to identify, for the laboratory tests

       billed by PCMH to Plaintiffs, where each such test was ordered from, where it was

       performed, who reported the results to the ordering provider, and who billed it,”

       which appears to be a large portion of PCMH’s lab information. Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       25.     REQUEST NO. 25: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about




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the laboratory tests at issue to anyone.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This request could very well be asking for any information related to any lab business

        anywhere in the world.

        26.     REQUEST NO. 26: Any assignment of benefits received from Plaintiffs’ members

for the laboratory tests at issue.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. In order for anyone to possible craft a reasonable response, they would have to know

        all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

        “assignment of benefits.” Even then, the request would be objectionable.

        27.     REQUEST NO. 27: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to a “laboratory-billing scheme at PCMH” of which




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       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       28.    REQUEST NO. 28: All documents related to directives regarding laboratory

billings at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to directives regarding laboratory

       billings at PCMH,” which appears to be a large portion of PCMH’s lab information.

       Further, to the extent that PCMH information is sought, such information would properly

       be sought from PCMH, who Defendant maintains, is an indispensable party.

       29.    REQUEST NO. 29: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Defendant would direct Plaintiffs to the applicable State and Federal Laws, Codes

       and Rules.

       30.    REQUEST NO. 30: All documents related to why the laboratory tests at issue were

billed through PCMH rather than any by any other hospital or laboratory.




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       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seems to be seeking information as to the thought process behind certain

       of PCMH’s actions, which would appear to be an improper request. Further, to the extent

       that PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       31.    REQUEST NO. 31: All documents related to defendants’ efforts to collect copays

or coinsurance obligations from Plaintiffs’ members.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. In order for anyone to possible craft a reasonable response, they would have to know

       all of Plaintiffs’ members, information known to Plaintiffs, as well as a definition of

       “efforts to collect copays or coinsurance obligations.” Even then, the request would be

       objectionable. It is also noted that this request is not restricted to PCMH or any one (1)

       defendant.

       32.    REQUEST NO. 32: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party. In this case, Defendant

       does not believe any responsive documents would exist.

       33.     REQUEST NO. 33: All documents relating to any questions or concerns from any

provider, member, or payor regarding why claims for laboratory tests were billed through PCMH,

or why the questioning the propriety of amounts billed or owed.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents relating to any questions or concerns from

       any provider, member, or payor regarding why claims for laboratory tests were billed

       through PCMH, or why the questioning the propriety of amounts billed or owed,”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       34.     REQUEST NO. 34: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request appears to be seeking PCMH’s employment and HR files. Further, to

        the extent that PCMH information is sought, such information would properly be sought

        from PCMH, who Defendant maintains, is an indispensable party.

        35.        REQUEST NO. 35: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense in

this litigation.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. Further, until this matter is at issue, Defendant could not possibly “know” what

        defenses will be applicable.

        36.        REQUEST NO. 36: All documents related to any defendants’ efforts to conceal or

explain the laboratory-billing scheme.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request is connected to “efforts to conceal or explain” a “laboratory-billing

        scheme at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not




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       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       37.     REQUEST NO. 37: All documents related to the receipt of payment from

Plaintiffs for the laboratory-billing scheme.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to “receipt of payment” for a “laboratory-billing scheme

       at PCMH” of which Defendant is unaware, or at a minimum, Defendant does not

       understand as defined. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       38.     REQUEST NO. 38: All documents relating to amounts paid or owed to any entity

or individual because of the laboratory-billing scheme at PCMH, including agreements setting

forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,




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       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       39.      REQUEST NO. 39: All documents relating to the payment by any defendant of

anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is simply unintelligible.

       40.      REQUEST NO. 40: All documents provided to or received from the Missouri State

Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or law

enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is not connected to PCMH or anything else, but simply requests the

       universe of lifelong documents received by Defendant.

       41.      REQUEST NO. 41: All documents discussing or responding to Plaintiffs’

investigation of the laboratory-billing scheme.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to




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       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       42.    REQUEST NO. 42: All documents relating to any public statement, press release,

or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is connected to a “laboratory-billing scheme at PCMH” of which

       Defendant is unaware, or at a minimum, Defendant does not understand as defined. Further,

       to the extent that PCMH information is sought, such information would properly be sought

       from PCMH, who Defendant maintains, is an indispensable party.

       43.    REQUEST NO. 43: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents tabulating amounts billed or received by




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       PCMH for laboratory tests since January 1, 2016 (or any length of time therein),”

       which appears to be a large portion of PCMH’s lab and billing information. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       44.    REQUEST NO. 44: All documents related to proposals and revenue projections

for services that were billed through PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll related to proposals and revenue projections for services

       that were billed through PCMH,” which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       45.    REQUEST NO. 45: All documents related to the dissolution or closure of any

defendant.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       46.    REQUEST NO. 46: All documents related to any travel that you or your




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employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. The request appears to seek voluminous amounts of documents, of any travel of

       numerous persons, at any time, for any purpose, and without restriction.

       47.     REQUEST NO. 47: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks “[a]ll documents related to demand or cease-and-desist letters

       sent to or received from any defendant, individual, or entity related to PCMH,” which

       appears to be every possible demand or C&D that ever mentioned PCMH. Further, to the

       extent that PCMH information is sought, such information would properly be sought from

       PCMH, who Defendant maintains, is an indispensable party.

       48.     REQUEST NO. 48: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents related to the termination of contracts,

        agreements, or relationships with any of the defendants,” which appears to be every

        possible termination of any contract ever entered into by any of the defendants.

        49.    REQUEST NO. 49: All documents related to litigation with any of the defendants,

including all documents produced and received in discovery, all pleadings, and all deposition

transcripts.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as

        well. This Request seeks “[a]ll documents related to litigation with any of the

        defendants, including all documents produced and received in discovery, all

        pleadings, and all deposition transcripts,” which appears to be every possible litigation

        paper involving defendants.

        50.    REQUEST NO. 50: All documents relating to business or managerial changes that

you have made since learning of concerns about the billing arrangement for laboratory services at

PCMH.

        Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

        harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

        lead to the discovery of admissible evidence. The Request may also invade certain

        applicable privileges, and appears to seek private, proprietary or restricted information as




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       well. This Request seeks “[a]ll documents relating to business or managerial changes,”

       although limited to some unknown time frame.

       51.     REQUEST NO. 51: All documents related to the return of money that you received

as a result of laboratory tests that were billed through PCMH since January 1, 2016.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks information which appears to be a large portion of PCMH’s lab

       and billing information. Further, to the extent that PCMH information is sought, such

       information would properly be sought from PCMH, who Defendant maintains, is an

       indispensable party.

       52.     REQUEST NO. 52: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. Once again Defendant has no idea what Plaintiffs are seeking.

       53.     REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,




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       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all payments made to Defendant

       by PCMH, which is simply improper at this stage of the case. Further, to the extent that

       PCMH information is sought, such information would properly be sought from PCMH,

       who Defendant maintains, is an indispensable party.

       54.     REQUEST NO. 54: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of all payments made to or from

       any Defendant without restriction from January 1, 2016, which is simply improper at this

       stage of the case.

       55.     REQUEST NO. 55: Documents sufficient to show the details from January 1, 2016

to the present of all transactions (including receipts, deposits, payments, transfers, withdrawals,

purchases, credit-card transactions, etc.) in any accounts under Your control at financial

institutions that received funds from PCMH, directly or indirectly. The details shall include

periodic statement issued for any such account, the identity of the financial organization, the

account number, the name and address of the account holder, and (for each transaction), the date




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of the transaction, the amount of money involved, the type of transaction, the resulting balance of

the account, the identity of every individual or organization that was a party to the transaction,

copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all accounts of Defendant that

       may have received any monies from PCMH, which is simply improper at this stage of the

       case.

       56.        REQUEST NO. 56: All documents used to, or that could be used to, reconcile the

claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request appears to be seeking documents which would allow Plaintiffs to

       determine what they paid, or what claims they received?

       57.        REQUEST NO. 57: All current financial statements and documents showing Your

current assets.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain




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       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is broad-based financial disclosure of all of Defendant’s finances, which

       is simply improper at this stage of the case.

       58.      REQUEST NO. 58: All documents related to the current location of any funds that

you received from laboratory tests that were billed through PCMH since January 1, 2016, or any

real or personal property purchased with that money with a value in excess of $20,000.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request seeks broad-based financial disclosure of some indeterminate funds,

       which would simply be impossible to trace.

       59.      REQUEST NO. 59: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents related

to tenders, coverage denials, or reservations of rights.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated to

       lead to the discovery of admissible evidence. The Request may also invade certain

       applicable privileges, and appears to seek private, proprietary or restricted information as

       well. This Request is presumably directed to PCMH’s insurance policies, but contains no

       restrictions. Further, to the extent that PCMH information is sought, such information

       would properly be sought from PCMH, who Defendant maintains, is an indispensable

       party.




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                                      Respectfully submitted,

                                       CHAPMAN AND COWHERD, P.C.
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                 Exhibit K




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

                DEFENDANT EMPOWER H.I.S. LLC,’S RESPONSES TO
               PLAINTIFF'S FIRST SET OF REQUESTS FOR ADMISSION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 36, and the Local Rules for the Western

District of Missouri, Defendant EMPOWER H.I.S. LLC (“Defendant”), by and through its

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Admission, in

accordance with the above-mentioned Rules.

                                     GENERAL PARAMETERS

       1.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       2.      Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       3.      Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

36, and will not admit any pure legal conclusions.


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       4.       Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       5.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       6.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what it believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

       7.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Admission is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       8.       Defendant has reviewed any proposed instructions, but will only adhere to same, to

the extent the instructions are not in conflict with the applicable Rules.

       9.       Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Admission, as follows:

                      RESPONSES TO REQUESTS FOR ADMISSIONS

       1.       REQUEST NO. 1: Admit that you received money as a result of laboratory tests

that were billed through PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       2.       REQUEST NO. 2: Admit that prior to October 20, 2016, you had never received

money as a result of laboratory tests that were billed through PCMH.




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       RESPONSE: Denied as phrased, as Defendant did not, and does not, perform laboratory

       tests. It is noted that assuming the underlying date aligns with the date that any Defendants

       commenced a relationship with PCMH, no money would have been received by any

       Defendant prior to that date.

       3.     REQUEST NO. 3: Admit that you knew in 2017 that laboratory tests were being

billed to Plaintiffs for members who had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       4.     REQUEST NO. 4: Admit that you knew in 2017 that it was improper to bill

laboratory tests through PCMH if the member had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       5.     REQUEST NO. 5: Admit that you have raised concerns about the billing

arrangement used at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       problems with a purported billing arrangement. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.




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       6.      REQUEST NO. 6: Admit that one or more defendants engaged in improper conduct

as it relates to billing laboratory tests through PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper conduct. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       7.      REQUEST NO. 7: Admit that you have transferred assets and funds you received

as a result of the laboratory-billing arrangement.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       8.      REQUEST NO. 8: Admit that no defendant or person should be permitted to retain

proceeds from an improper billing scheme at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper billing scheme. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       9.      REQUEST NO. 9: Admit that providers ordered the tests from the Laboratory

Defendants directly.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       provider, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for




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       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       10.     REQUEST NO. 10: Admit that PCMH and its physicians did not order the tests

from the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       physician, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for

       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       11.     REQUEST NO. 11: Admit that a portion of the tests billed to Plaintiffs by PCMH

were performed by the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH and is

       not a Laboratory Defendant; as such Defendant has a lack of knowledge and has no ability

       to talk to PCMH, who would likely have the information necessary for this request.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       12.     REQUEST NO. 12: Admit that the Laboratory Defendants provided the test results

to the ordering providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, is not

       an ordering provider, and is not a Laboratory Defendant; as such Defendant has a lack of




                                 Page 5 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 156 of 314
       knowledge and has no ability to talk to PCMH, who would likely have the information

       necessary for this request. Further, Defendant does not even understand the Request as it

       is unclear, what admission is being sought; even to the point of being unclear as to what

       facts, application of law, or opinion is being sought.

       13.    REQUEST NO. 13: Admit that claims were billed to Plaintiffs regardless of

whether the members had ever been treated there or been treated by PCMH-credentialed providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH; as

       such Defendant has a lack of knowledge and has no ability to talk to PCMH, who would

       likely have the information necessary for this request. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.



                                                     Respectfully submitted,

                                                      CHAPMAN AND COWHERD, P.C.
                                             By:    /s/ Lauren A. Horsman
                                                      Lauren A. Horsman – Mo Bar No. 60982
                                                      903 Jackson – P.O. Box 228
                                                      Chillicothe, MO 64601
                                                      Telephone: 660-646-0627
                                                      Telefax: 660-646-1105
                                                      E-mail: lhorsman@ccttlaw.com
                                                      ATTORNEY FOR DEFENDANTS
                                                      HOSPITAL PARTNERS, INC.,
                                                      EMPOWER H.I.S., LLC, DAVID BYRNS
                                                      and JORGE PEREZ

                                                     FMS LAWYER PL

                                             By:    /s/ Frank Smith
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                                                      9900 Stirling Road, Suite 226
                                                      Cooper City, FL 33024
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                                Page 6 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 157 of 314
                                    Telefax: 954-241-6947
                                    Email: frank.smith@fmslawyer.com
                                    ATTORNEY FOR DEFENDANTS
                                    HOSPITAL PARTNERS, INC.,
                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                    and JORGE PEREZ
                                    Admitted Pro Hac Vice




                            Page 7 of 7
Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 158 of 314
                  Exhibit L




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 159 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

             DEFENDANT HOSPITAL PARTNERS INC.’S RESPONSES TO
              PLAINTIFF'S FIRST SET OF REQUESTS FOR ADMISSION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 36, and the Local Rules for the Western

District of Missouri, Defendant HOSPITAL PARTNERS, INC. (“Defendant”), by and through its

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Admission, in

accordance with the above-mentioned Rules.

                                     GENERAL PARAMETERS

       1.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       2.      Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       3.      Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

36, and will not admit any pure legal conclusions.


                                 Page 1 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 160 of 314
       4.       Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       5.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       6.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon its understanding of what he believes is a defective Complaint, and speculating as

to what may be the ultimate scope of discovery under Rule 26.

       7.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Admission is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       8.       Defendant has reviewed any proposed instructions, but will only adhere to same, to

the extent the instructions are not in conflict with the applicable Rules.

       9.       Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Admission, as follows:

                      RESPONSES TO REQUESTS FOR ADMISSIONS

       1.       REQUEST NO. 1: Admit that you received money as a result of laboratory tests

that were billed through PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       2.       REQUEST NO. 2: Admit that prior to October 20, 2016, you had never received

money as a result of laboratory tests that were billed through PCMH.




                                 Page 2 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 161 of 314
       RESPONSE: Denied as phrased, as Defendant did not, and does not, perform laboratory

       tests. It is noted that assuming the underlying date aligns with the date that any Defendants

       commenced a relationship with PCMH, no money would have been received by any

       Defendant prior to that date.

       3.     REQUEST NO. 3: Admit that you knew in 2017 that laboratory tests were being

billed to Plaintiffs for members who had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       4.     REQUEST NO. 4: Admit that you knew in 2017 that it was improper to bill

laboratory tests through PCMH if the member had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       5.     REQUEST NO. 5: Admit that you have raised concerns about the billing

arrangement used at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       problems with a purported billing arrangement. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.




                                Page 3 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 162 of 314
       6.      REQUEST NO. 6: Admit that one or more defendants engaged in improper conduct

as it relates to billing laboratory tests through PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper conduct. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       7.      REQUEST NO. 7: Admit that you have transferred assets and funds you received

as a result of the laboratory-billing arrangement.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       8.      REQUEST NO. 8: Admit that no defendant or person should be permitted to retain

proceeds from an improper billing scheme at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper billing scheme. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       9.      REQUEST NO. 9: Admit that providers ordered the tests from the Laboratory

Defendants directly.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       provider, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for




                                 Page 4 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 163 of 314
       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       10.     REQUEST NO. 10: Admit that PCMH and its physicians did not order the tests

from the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       physician, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for

       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       11.     REQUEST NO. 11: Admit that a portion of the tests billed to Plaintiffs by PCMH

were performed by the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH and is

       not a Laboratory Defendant; as such Defendant has a lack of knowledge and has no ability

       to talk to PCMH, who would likely have the information necessary for this request.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       12.     REQUEST NO. 12: Admit that the Laboratory Defendants provided the test results

to the ordering providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, is not

       an ordering provider, and is not a Laboratory Defendant; as such Defendant has a lack of




                                 Page 5 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 164 of 314
       knowledge and has no ability to talk to PCMH, who would likely have the information

       necessary for this request. Further, Defendant does not even understand the Request as it

       is unclear, what admission is being sought; even to the point of being unclear as to what

       facts, application of law, or opinion is being sought.

       13.    REQUEST NO. 13: Admit that claims were billed to Plaintiffs regardless of

whether the members had ever been treated there or been treated by PCMH-credentialed providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH; as

       such Defendant has a lack of knowledge and has no ability to talk to PCMH, who would

       likely have the information necessary for this request. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.



                                                     Respectfully submitted,

                                                      CHAPMAN AND COWHERD, P.C.
                                             By:    /s/ Lauren A. Horsman
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                                                      ATTORNEY FOR DEFENDANTS
                                                      HOSPITAL PARTNERS, INC.,
                                                      EMPOWER H.I.S., LLC, DAVID BYRNS
                                                      and JORGE PEREZ

                                                     FMS LAWYER PL

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                                Page 6 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 165 of 314
                                    Telefax: 954-241-6947
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                                    ATTORNEY FOR DEFENDANTS
                                    HOSPITAL PARTNERS, INC.,
                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                    and JORGE PEREZ
                                    Admitted Pro Hac Vice




                            Page 7 of 7
Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 166 of 314
                 Exhibit M




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 167 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

                   DEFENDANT JORGE PEREZ’S RESPONSES TO
               PLAINTIFF'S FIRST SET OF REQUESTS FOR ADMISSION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 36, and the Local Rules for the Western

District of Missouri, Defendant JORGE PEREZ (“Defendant”), by and through his undersigned

counsel, hereby responds to Plaintiff’s First Set of Requests for Admission, in accordance with the

above-mentioned Rules.

                                     GENERAL PARAMETERS

       1.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       2.      Defendant will not reproduce information, which is attached to the pleadings and

papers on file in this matter, already in the possession of Plaintiffs or parties under the control of

Plaintiffs, including, without limitation, any Fed. R. Civ. P. 26 disclosures.

       3.      Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

36, and will not admit any pure legal conclusions.


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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 168 of 314
       4.       Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       5.       Defendant notes that this matter is not yet at issue, and it appears that the majority,

if not all, of the information sought would be more properly addressed to other Defendants in this

matter, or indispensable parties, who have not yet been joined to this proceeding. Accordingly,

any discovery requests seeking such information would properly be addressed to such parties.

       6.       Inasmuch as this proceeding is not yet at issue, Defendant has responded herein

predicated upon his understanding of what he believes is a defective Complaint, and speculating

as to what may be the ultimate scope of discovery under Rule 26.

       7.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Admission is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       8.       Defendant has reviewed any proposed instructions, but will only adhere to same, to

the extent the instructions are not in conflict with the applicable Rules.

       9.       Subject to the above General Parameters, Defendant responds to the Plaintiff’s First

Set of Requests for Admission, as follows:

                      RESPONSES TO REQUESTS FOR ADMISSIONS

       1.       REQUEST NO. 1: Admit that you received money as a result of laboratory tests

that were billed through PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       2.       REQUEST NO. 2: Admit that prior to October 20, 2016, you had never received

money as a result of laboratory tests that were billed through PCMH.




                                 Page 2 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 169 of 314
       RESPONSE: Denied as phrased, as Defendant did not, and does not, perform laboratory

       tests. It is noted that assuming the underlying date aligns with the date that any Defendants

       commenced a relationship with PCMH, no money would have been received by any

       Defendant prior to that date.

       3.     REQUEST NO. 3: Admit that you knew in 2017 that laboratory tests were being

billed to Plaintiffs for members who had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       4.     REQUEST NO. 4: Admit that you knew in 2017 that it was improper to bill

laboratory tests through PCMH if the member had no connection to PCMH.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       5.     REQUEST NO. 5: Admit that you have raised concerns about the billing

arrangement used at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       problems with a purported billing arrangement. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.




                                Page 3 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 170 of 314
       6.      REQUEST NO. 6: Admit that one or more defendants engaged in improper conduct

as it relates to billing laboratory tests through PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper conduct. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       7.      REQUEST NO. 7: Admit that you have transferred assets and funds you received

as a result of the laboratory-billing arrangement.

       RESPONSE: Denied as Defendant did not, and does not, perform laboratory tests.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       8.      REQUEST NO. 8: Admit that no defendant or person should be permitted to retain

proceeds from an improper billing scheme at PCMH.

       RESPONSE: Denied as the Request is understood, noting Defendant is unaware of any

       improper billing scheme. Further, Defendant does not even understand the Request as it is

       unclear, what admission is being sought; even to the point of being unclear as to what facts,

       application of law, or opinion is being sought.

       9.      REQUEST NO. 9: Admit that providers ordered the tests from the Laboratory

Defendants directly.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       provider, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for




                                 Page 4 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 171 of 314
       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       10.     REQUEST NO. 10: Admit that PCMH and its physicians did not order the tests

from the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, not a

       physician, and is not a Laboratory Defendant; as such Defendant has a lack of knowledge

       and has no ability to talk to PCMH, who would likely have the information necessary for

       this request. Further, Defendant does not even understand the Request as it is unclear, what

       admission is being sought; even to the point of being unclear as to what facts, application

       of law, or opinion is being sought.

       11.     REQUEST NO. 11: Admit that a portion of the tests billed to Plaintiffs by PCMH

were performed by the Laboratory Defendants.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH and is

       not a Laboratory Defendant; as such Defendant has a lack of knowledge and has no ability

       to talk to PCMH, who would likely have the information necessary for this request.

       Further, Defendant does not even understand the Request as it is unclear, what admission

       is being sought; even to the point of being unclear as to what facts, application of law, or

       opinion is being sought.

       12.     REQUEST NO. 12: Admit that the Laboratory Defendants provided the test results

to the ordering providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH, is not

       an ordering provider, and is not a Laboratory Defendant; as such Defendant has a lack of




                                 Page 5 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 172 of 314
       knowledge and has no ability to talk to PCMH, who would likely have the information

       necessary for this request. Further, Defendant does not even understand the Request as it

       is unclear, what admission is being sought; even to the point of being unclear as to what

       facts, application of law, or opinion is being sought.

       13.    REQUEST NO. 13: Admit that claims were billed to Plaintiffs regardless of

whether the members had ever been treated there or been treated by PCMH-credentialed providers.

       RESPONSE: Denied as the Request is understood, noting Defendant is not PCMH; as

       such Defendant has a lack of knowledge and has no ability to talk to PCMH, who would

       likely have the information necessary for this request. Further, Defendant does not even

       understand the Request as it is unclear, what admission is being sought; even to the point

       of being unclear as to what facts, application of law, or opinion is being sought.



                                                     Respectfully submitted,

                                                      CHAPMAN AND COWHERD, P.C.
                                             By:    /s/ Lauren A. Horsman
                                                      Lauren A. Horsman – Mo Bar No. 60982
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                                                      ATTORNEY FOR DEFENDANTS
                                                      HOSPITAL PARTNERS, INC.,
                                                      EMPOWER H.I.S., LLC, DAVID BYRNS
                                                      and JORGE PEREZ

                                                     FMS LAWYER PL

                                             By:    /s/ Frank Smith
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                                                      Cooper City, FL 33024
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                                Page 6 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 173 of 314
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                                    ATTORNEY FOR DEFENDANTS
                                    HOSPITAL PARTNERS, INC.,
                                    EMPOWER H.I.S., LLC, DAVID BYRNS
                                    and JORGE PEREZ
                                    Admitted Pro Hac Vice




                            Page 7 of 7
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                 Exhibit N




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 175 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                 CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                 5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

   AMENDED RESPONSES TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
 ADMISSION, PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION, AND
 PLAINTIFFS’ FIRST SET OF INTERROGATORIES BY DEFENDANTS HOSPITAL
  PARTNERS, INC., EMPOWER H.I.S., LLC, DAVID BYRNS AND JORGE PEREZ

       In accordance with Fed. R. Civ. P. 26(b)(1), 33, 34 and 36, and the Local Rules for the

Western District of Missouri, Defendants HOSPITAL PARTNERS, INC., EMPOWER H.I.S.,

LLC, DAVID BYRNS and JORGE PEREZ (“Defendants”), by and through their undersigned

counsel, hereby amend their prior responses to Plaintiffs’ First Set of Requests for Admission,

Plaintiffs’ First Set of Requests for Production and Plaintiffs’ First Set of Interrogatories, in

accordance with the above-mentioned Rules, as follows:

                                      RELEVANT HISTORY

       1.      On November 26, 2018, Defendants provided their responses to Plaintiffs’ First Set

of Requests for Admission, Plaintiffs First Set of Requests for Production and Plaintiffs First Set

of Interrogatories (collectively, the “Responses”).

       2.      On January 7, 2019, Plaintiffs’ counsel and Defendants’ counsel held a “meet and

confer” conference to discuss Plaintiffs’ claimed deficiencies with the Responses.

       3.      At that time, counsel for Defendants informed counsel for Plaintiffs that they had


                                 Page 1 of 3
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 176 of 314
recently been contacted by the United States Department of Justice (“DOJ”) (on January 4, 2019

and January 7, 2019) as to the existence of a criminal investigation, which potentially involves

parties in the within litigation. Counsel for Defendants further noted that at this time it is unclear

as to the nature of the investigation, but that it appears that most, if not all, of the parties in the

within litigation are the subject of the investigation.

          4.   For that reason, and until the scope and targets of the DOJ investigation become

clear, Defendants must at this time, at least on a temporary basis, assert their Fifth Amendment

rights, primarily at this point related to the “Act of Production,” as well as reserving their other

rights related to Self-Incrimination, to the extent that same becomes necessary, advisable or

desirable.

          5.   Once the scope and targets of the DOJ investigation become clear, Defendants will

commit to a final position on exercising their Fifth Amendment rights, vis-à-vis the within

litigation.

          6.   Other than as modified and amended herein, the Responses remain in full-force and

effect.

                                                     CHAPMAN AND COWHERD, P.C.

                                               By: /s/ Lauren A. Horsman
                                                   Lauren A. Horsman – Mo Bar No. 60982
                                                   903 Jackson – P.O. Box 228
                                                   Chillicothe, MO 64601
                                                   Telephone: 660-646-0627
                                                   Telefax: 660-646-1105
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                                                   ATTORNEY FOR DEFENDANTS
                                                   HOSPITAL PARTNERS, INC. EMPOWER
                                                   H.I.S., LLC, DAVID BYRNS and
                                                   JORGE A. PEREZ

                                                     FMS LAWYER PL




                                 Page 2 of 3
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 177 of 314
                                              By: /s/ Frank Smith
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                                                  ATTORNEY FOR DEFENDANTS
                                                  HOSPITAL PARTNERS, INC. EMPOWER
                                                  H.I.S., LLC, DAVID BYRNS and
                                                  JORGE A. PEREZ
                                                  Admitted Pro Hac Vice


                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served electronically to:

                          COUNSEL OF RECORD FOR PLAINTIFFS

This 11th day of January 2019.

                                                      FMS LAWYER PL

                                              By:    /s/ Frank Smith
                                                     Frank Smith




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                 Exhibit O




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

  DEFENDANT EMPOWER H.I.S., LLC’s AMENDED RESPONSE TO PLAINTIFFS’
              FIRST SET OF REQUESTS FOR PRODUCTION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the Western

District of Missouri, Defendant EMPOWER H.I.S., LLC, (“Defendant”) by and through their

undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in

accordance with the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


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papers on file in this matter, is already in the possession of Plaintiffs or parties under the control

of Plaintiffs, including without limitation any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame,

where no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain, and which is not otherwise (except as copies of the public records or public domain) in

the files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, its

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       9.       Defendant has reviewed any proposed instructions, but will only adhere to same,

to the extent the instructions are not in conflict with the applicable Rules.

       10.      As separately noted below in response to the individual requests, Defendant

objects to the use of the terminology “laboratory-billing scheme;” as this Defendant is unaware

of any wrongdoing or “scheme” as pertains to laboratory billing at PCMH. In each case so as to

achieve compliance with this Court’s Order [D.E. #171], Defendant has provided documents

responsive the requests as if the request referenced “laboratory billing at PCMH.”

       11.      Subject to the above General Parameters, Defendant responds to the Plaintiff’s




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First Set of Requests for Production, as follows:

              AMENDED RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant

regarding the laboratory billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.


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       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or

claim submission purposes.

       Answer: Defendant partially objects to this request as vague, overly broad, unduly

       burdensome, harassing, and/or seeking information that is irrelevant and/or not

       reasonably calculated to lead to the discovery of admissible evidence; the request seeks

       documents referencing PCMH’s NPI, TIN, name, or other identifier for billing or claim

       submission purposes, which would appear to potentially, be all medical and billing

       records of PCMH.              Notwithstanding the objection, Defendant has produced

       contemporaneously herewith all relevant business records (and would have no non-

       business records) as to such PCMH billing in its possession, custody and control,

       responsive to this request.




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       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Notwithstanding the objection the

       request, as the request is understood, Defendant has no responsive documents in its

       possession, custody and control.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. Defendant

       further objects to this request as vague, overly broad, unduly burdensome, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence to the extent that the request seeks information

       related to hospitals other than PCMH. Subject to the objection/restriction to PCMH, and




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       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to PCMH

       laboratory billing in its possession, custody and control, responsive to this request.

       7.     REQUEST NO. 7: All documents addressing, discussing, describing, or

analyzing the Contract.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests (wherein the contract is at

       least impliedly referenced), Defendant has no relevant business records (and would have

       no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       8.     REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or




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individual related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       10.     REQUEST NO. 10: All documents related to indemnity agreements or

provisions with any party to this litigation or with PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request. Defendant notes that Plaintiffs have been provided the

       contracts regarding PCMH, the PCMH Board and Putnam County, and further notes that

       PCMH would have its contracts with the other Defendants.

       11.     REQUEST NO. 11: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

       Answer:     As this request is understood, other than what Defendant has produced




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        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in its possession, custody and

        control, responsive to this request.

        12.    REQUEST NO. 12: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in its possession, custody and

        control, responsive to this request.

        13.    REQUEST NO. 13: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1,

2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.

        14.    REQUEST NO. 14: All documents that You contend establish the propriety of

the claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s

identifiers since January 1, 2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.




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        15.     REQUEST NO. 15: All documents related to the provision of laboratory tests

that were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.

        16.     REQUEST NO. 16: All documents related to the provision of laboratory tests

that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

        Answer: Defendant partially objects to this request as vague, overly broad, harassing,

        and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

        the discovery of admissible evidence as this request appears to be another way of seeking

        information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

        reference to a “scheme” creates many issues, including potential individual rights to raise

        protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

        inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

        laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

        relevant business records (and would have no non-business records) as to such laboratory

        tests in its possession, custody and control, responsive to this request.

        17.     REQUEST NO. 17: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor




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outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to such laboratory

       billing in its possession, custody and control, responsive to this request.

       18.    REQUEST NO. 18: All documents used to market or promote the use of

hospitals to bill for laboratory tests that (a) were not performed by the hospitals billing the

claims; or (b) were for individuals who were neither inpatients nor outpatients of the hospitals

billing the claims or who were not under the medical supervision of providers credentialed by the

hospitals.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,




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       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) in its possession,

       custody and control, responsive to this request.

       19.     REQUEST NO. 19: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       20.     REQUEST NO. 20: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       21.     REQUEST NO. 21: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced




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       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       22.     REQUEST NO. 22: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       specimens in its possession, custody and control, responsive to this request.

       23.     REQUEST NO. 23: Documents sufficient to identify, for the laboratory tests

billed by PCMH to Plaintiffs, where each such test was ordered from, where it was performed,

who reported the results to the ordering provider, and who billed it.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       24.     REQUEST NO. 24: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about

the laboratory tests at issue to anyone.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. This request could very well be asking




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       for any information related to any lab business anywhere in the world. As pertains to this

       matter and PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       25.     REQUEST NO. 25: Any assignment of benefits received from Plaintiffs’

members for the laboratory tests at issue.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       26.     REQUEST NO. 26: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       27.     REQUEST NO. 27: All documents related to directives regarding laboratory




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billings at PCMH.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       28.    REQUEST NO. 28: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory in its

       possession, custody and control, responsive to this request. Defendant would further

       direct Plaintiffs to the applicable State and Federal Laws, Codes and Rules.

       29.    REQUEST NO. 29: All documents related to why the laboratory tests at issue

were billed through PCMH rather than any by any other hospital or laboratory.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       30.    REQUEST NO. 30: All documents related to defendants’ efforts to collect

copays or coinsurance obligations from Plaintiffs’ members.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such collections in its




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       possession, custody and control, responsive to this request.

       31.     REQUEST NO. 31: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       32.     REQUEST NO. 32: All documents relating to any questions or concerns from

any provider, member, or payor regarding why claims for laboratory tests were billed through

PCMH, or why the questioning the propriety of amounts billed or owed.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       33.     REQUEST NO. 33: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant




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        business records (and would have no non-business records) as to such phlebotomists in

        its possession, custody and control, responsive to this request.

        34.      REQUEST NO. 34: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense

in this litigation.

        Answer: Defendant objects to this request as vague, overly broad, harassing, and/or

        seeking information that is irrelevant and/or not reasonably calculated to lead to the

        discovery of admissible evidence; the reference to a “scheme” creates many issues,

        including potential individual rights to raise protection of the Fifth Amendment Privilege,

        and is certainly inflammatory. Further, Defendant objects to this request as it appears to

        seek attorney client privileged information and asserting such “defense” may require a

        waiver of such privilege. At this time, Defendant does not “know” what defenses will

        ultimately be applicable.    However, inasmuch as this Defendant is unaware of any

        wrongdoing or “scheme” as pertains to laboratory billing at PCMH, and without waiving

        the applicable privilege at this time, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant does not

        believe he has any relevant business records (and would have no non-business records) in

        its possession, custody and control, responsive to this request.

        35.      REQUEST NO. 35: All documents related to any defendants’ efforts to conceal

or explain the laboratory-billing scheme.

        Answer: Defendant does not have any relevant business records (and would have no

        non-business records) in its possession, custody and control, responsive to this request.

        36.      REQUEST NO. 36: All documents related to the receipt of payment from




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Plaintiffs for the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       37.     REQUEST NO. 37: All documents relating to amounts paid or owed to any

entity or individual because of the laboratory-billing scheme at PCMH, including agreements

setting forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       38.     REQUEST NO. 38: All documents relating to the payment by any defendant of




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anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       39.      REQUEST NO. 39: All documents provided to or received from the Missouri

State Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or

law enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       40.      REQUEST NO. 40: All documents discussing or responding to Plaintiffs’

investigation of the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds




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       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       41.    REQUEST NO. 41: All documents relating to any public statement, press

release, or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds

       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       42.    REQUEST NO. 42: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       billing/payments in its possession, custody and control, responsive to this request.

       43.    REQUEST NO. 43: All documents related to proposals and revenue projections




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for services that were billed through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such projections in its

       possession, custody and control, responsive to this request.

       44.     REQUEST NO. 44: All documents related to the dissolution or closure of any

defendant.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such dissolution or

       closure in its possession, custody and control, responsive to this request.

       45.     REQUEST NO. 45: All documents related to any travel that you or your

employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. The request appears to seek voluminous

       amounts of documents, of any travel of numerous persons, at any time, for any purpose,

       and without restriction. In any event, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,

       Defendant has no relevant business records (and would have no non-business records) as

       to such travel in its possession, custody and control, responsive to this request.

       46.     REQUEST NO. 46: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.




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       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its

       possession, custody and control, responsive to this request.

       47.     REQUEST NO. 47: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       48.     REQUEST NO. 48: All documents related to litigation with any of the

defendants, including all documents produced and received in discovery, all pleadings, and all

deposition transcripts.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant




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       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       49.     REQUEST NO. 49: All documents relating to business or managerial changes

that you have made since learning of concerns about the billing arrangement for laboratory

services at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       50.     REQUEST NO. 50: All documents related to the return of money that you

received as a result of laboratory tests that were billed through PCMH since January 1, 2016.

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       51.     REQUEST NO. 51: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its




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       possession, custody and control, responsive to this request.

       52.    REQUEST NO. 52: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       53.    REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       54.    REQUEST NO. 54: Documents sufficient to show the details from January 1,

2016 to the present of all transactions (including receipts, deposits, payments, transfers,

withdrawals, purchases, credit-card transactions, etc.) in any accounts under Your control at




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financial institutions that received funds from PCMH, directly or indirectly. The details shall

include periodic statement issued for any such account, the identity of the financial organization,

the account number, the name and address of the account holder, and (for each transaction), the

date of the transaction, the amount of money involved, the type of transaction, the resulting

balance of the account, the identity of every individual or organization that was a party to the

transaction, copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       55.     REQUEST NO. 55: All documents used to, or that could be used to, reconcile

the claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its

       possession, custody and control, responsive to this request.

       56.     REQUEST NO. 56: All current financial statements and documents showing

Your current assets.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,




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       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests and as to HOSPITAL PARTNERS, INC.,

       Defendant has no relevant business records (and would have no non-business records) as

       to such letters in its possession, custody and control, responsive to this request.

       57.     REQUEST NO. 57: All documents related to the current location of any funds

that you received from laboratory tests that were billed through PCMH since January 1, 2016, or

any real or personal property purchased with that money with a value in excess of $20,000.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests and as to HOSPITAL PARTNERS, INC.,

       Defendant has no relevant business records (and would have no non-business records) as

       to such letters in its possession, custody and control, responsive to this request.

       58.     REQUEST NO. 58: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents

related to tenders, coverage denials, or reservations of rights.

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

Dated: February 15, 2019.

                                               Respectfully submitted,

                                               CHAPMAN AND COWHERD, P.C.
                                               By: /s/ Lauren A. Horsman
                                               Lauren A. Horsman – Mo Bar No. 60982


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                  Exhibit P




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

       DEFENDANT HOSPITAL PARTNERS, INC.’s AMENDED RESPONSE TO
           PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the Western

District of Missouri, Defendant HOSPITAL PARTNERS, INC., (“Defendant”) by and through

their undersigned counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in

accordance with the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


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papers on file in this matter, is already in the possession of Plaintiffs or parties under the control

of Plaintiffs, including without limitation any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame,

where no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain, and which is not otherwise (except as copies of the public records or public domain) in

the files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, its

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       9.       Defendant has reviewed any proposed instructions, but will only adhere to same,

to the extent the instructions are not in conflict with the applicable Rules.

       10.      As separately noted below in response to the individual requests, Defendant

objects to the use of the terminology “laboratory-billing scheme;” as this Defendant is unaware

of any wrongdoing or “scheme” as pertains to laboratory billing at PCMH. In each case so as to

achieve compliance with this Court’s Order [D.E. #171], Defendant has provided documents

responsive the requests as if the request referenced “laboratory billing at PCMH.”

       11.      Subject to the above General Parameters, Defendant responds to the Plaintiff’s




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First Set of Requests for Production, as follows:

              AMENDED RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant

regarding the laboratory billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.


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       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or

claim submission purposes.

       Answer: Defendant partially objects to this request as vague, overly broad, unduly

       burdensome, harassing, and/or seeking information that is irrelevant and/or not

       reasonably calculated to lead to the discovery of admissible evidence; the request seeks

       documents referencing PCMH’s NPI, TIN, name, or other identifier for billing or claim

       submission purposes, which would appear to potentially, be all medical and billing

       records of PCMH.              Notwithstanding the objection, Defendant has produced

       contemporaneously herewith all relevant business records (and would have no non-

       business records) as to such PCMH billing in its possession, custody and control,

       responsive to this request.




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       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Notwithstanding the objection the

       request, as the request is understood, Defendant has no responsive documents in its

       possession, custody and control.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. Defendant

       further objects to this request as vague, overly broad, unduly burdensome, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence to the extent that the request seeks information

       related to hospitals other than PCMH. Subject to the objection/restriction to PCMH, and




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       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to PCMH

       laboratory billing in its possession, custody and control, responsive to this request.

       7.     REQUEST NO. 7: All documents addressing, discussing, describing, or

analyzing the Contract.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests (wherein the contract is at

       least impliedly referenced), Defendant has no relevant business records (and would have

       no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       8.     REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or




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individual related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in its possession, custody and

       control, responsive to this request.

       10.     REQUEST NO. 10: All documents related to indemnity agreements or

provisions with any party to this litigation or with PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request. Defendant notes that Plaintiffs have been provided the

       contracts regarding PCMH, the PCMH Board and Putnam County, and further notes that

       PCMH would have its contracts with the other Defendants.

       11.     REQUEST NO. 11: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

       Answer:     As this request is understood, other than what Defendant has produced




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        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in its possession, custody and

        control, responsive to this request.

        12.    REQUEST NO. 12: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in its possession, custody and

        control, responsive to this request.

        13.    REQUEST NO. 13: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1,

2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.

        14.    REQUEST NO. 14: All documents that You contend establish the propriety of

the claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s

identifiers since January 1, 2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.




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        15.     REQUEST NO. 15: All documents related to the provision of laboratory tests

that were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        its possession, custody and control, responsive to this request.

        16.     REQUEST NO. 16: All documents related to the provision of laboratory tests

that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

        Answer: Defendant partially objects to this request as vague, overly broad, harassing,

        and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

        the discovery of admissible evidence as this request appears to be another way of seeking

        information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

        reference to a “scheme” creates many issues, including potential individual rights to raise

        protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

        inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

        laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

        relevant business records (and would have no non-business records) as to such laboratory

        tests in its possession, custody and control, responsive to this request.

        17.     REQUEST NO. 17: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor




                                Page 9 of 26
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outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to such laboratory

       billing in its possession, custody and control, responsive to this request.

       18.    REQUEST NO. 18: All documents used to market or promote the use of

hospitals to bill for laboratory tests that (a) were not performed by the hospitals billing the

claims; or (b) were for individuals who were neither inpatients nor outpatients of the hospitals

billing the claims or who were not under the medical supervision of providers credentialed by the

hospitals.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,




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       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) in its possession,

       custody and control, responsive to this request.

       19.     REQUEST NO. 19: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       20.     REQUEST NO. 20: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       21.     REQUEST NO. 21: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced




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       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       22.     REQUEST NO. 22: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       specimens in its possession, custody and control, responsive to this request.

       23.     REQUEST NO. 23: Documents sufficient to identify, for the laboratory tests

billed by PCMH to Plaintiffs, where each such test was ordered from, where it was performed,

who reported the results to the ordering provider, and who billed it.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       24.     REQUEST NO. 24: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about

the laboratory tests at issue to anyone.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. This request could very well be asking




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       for any information related to any lab business anywhere in the world. As pertains to this

       matter and PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       25.     REQUEST NO. 25: Any assignment of benefits received from Plaintiffs’

members for the laboratory tests at issue.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       its possession, custody and control, responsive to this request.

       26.     REQUEST NO. 26: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       27.     REQUEST NO. 27: All documents related to directives regarding laboratory




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billings at PCMH.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       28.    REQUEST NO. 28: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory in its

       possession, custody and control, responsive to this request. Defendant would further

       direct Plaintiffs to the applicable State and Federal Laws, Codes and Rules.

       29.    REQUEST NO. 29: All documents related to why the laboratory tests at issue

were billed through PCMH rather than any by any other hospital or laboratory.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       30.    REQUEST NO. 30: All documents related to defendants’ efforts to collect

copays or coinsurance obligations from Plaintiffs’ members.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such collections in its




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       possession, custody and control, responsive to this request.

       31.     REQUEST NO. 31: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       32.     REQUEST NO. 32: All documents relating to any questions or concerns from

any provider, member, or payor regarding why claims for laboratory tests were billed through

PCMH, or why the questioning the propriety of amounts billed or owed.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in its possession, custody and control, responsive to this request.

       33.     REQUEST NO. 33: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant




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        business records (and would have no non-business records) as to such phlebotomists in

        its possession, custody and control, responsive to this request.

        34.      REQUEST NO. 34: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense

in this litigation.

        Answer: Defendant objects to this request as vague, overly broad, harassing, and/or

        seeking information that is irrelevant and/or not reasonably calculated to lead to the

        discovery of admissible evidence; the reference to a “scheme” creates many issues,

        including potential individual rights to raise protection of the Fifth Amendment Privilege,

        and is certainly inflammatory. Further, Defendant objects to this request as it appears to

        seek attorney client privileged information and asserting such “defense” may require a

        waiver of such privilege. At this time, Defendant does not “know” what defenses will

        ultimately be applicable.    However, inasmuch as this Defendant is unaware of any

        wrongdoing or “scheme” as pertains to laboratory billing at PCMH, and without waiving

        the applicable privilege at this time, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant does not

        believe he has any relevant business records (and would have no non-business records) in

        its possession, custody and control, responsive to this request.

        35.      REQUEST NO. 35: All documents related to any defendants’ efforts to conceal

or explain the laboratory-billing scheme.

        Answer: Defendant does not have any relevant business records (and would have no

        non-business records) in its possession, custody and control, responsive to this request.

        36.      REQUEST NO. 36: All documents related to the receipt of payment from




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Plaintiffs for the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       37.     REQUEST NO. 37: All documents relating to amounts paid or owed to any

entity or individual because of the laboratory-billing scheme at PCMH, including agreements

setting forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in its possession, custody and control,

       responsive to this request.

       38.     REQUEST NO. 38: All documents relating to the payment by any defendant of




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anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       39.      REQUEST NO. 39: All documents provided to or received from the Missouri

State Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or

law enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       40.      REQUEST NO. 40: All documents discussing or responding to Plaintiffs’

investigation of the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds




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       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       41.    REQUEST NO. 41: All documents relating to any public statement, press

release, or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds

       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in its possession, custody and

       control, responsive to this request.

       42.    REQUEST NO. 42: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       billing/payments in its possession, custody and control, responsive to this request.

       43.    REQUEST NO. 43: All documents related to proposals and revenue projections




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for services that were billed through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such projections in its

       possession, custody and control, responsive to this request.

       44.     REQUEST NO. 44: All documents related to the dissolution or closure of any

defendant.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such dissolution or

       closure in its possession, custody and control, responsive to this request.

       45.     REQUEST NO. 45: All documents related to any travel that you or your

employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. The request appears to seek voluminous

       amounts of documents, of any travel of numerous persons, at any time, for any purpose,

       and without restriction. In any event, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,

       Defendant has no relevant business records (and would have no non-business records) as

       to such travel in its possession, custody and control, responsive to this request.

       46.     REQUEST NO. 46: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.




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       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its

       possession, custody and control, responsive to this request.

       47.     REQUEST NO. 47: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       48.     REQUEST NO. 48: All documents related to litigation with any of the

defendants, including all documents produced and received in discovery, all pleadings, and all

deposition transcripts.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant




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       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       49.     REQUEST NO. 49: All documents relating to business or managerial changes

that you have made since learning of concerns about the billing arrangement for laboratory

services at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in its possession, custody and

       control, responsive to this request.

       50.     REQUEST NO. 50: All documents related to the return of money that you

received as a result of laboratory tests that were billed through PCMH since January 1, 2016.

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

       51.     REQUEST NO. 51: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its




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       possession, custody and control, responsive to this request.

       52.    REQUEST NO. 52: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       53.    REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       54.    REQUEST NO. 54: Documents sufficient to show the details from January 1,

2016 to the present of all transactions (including receipts, deposits, payments, transfers,

withdrawals, purchases, credit-card transactions, etc.) in any accounts under Your control at




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financial institutions that received funds from PCMH, directly or indirectly. The details shall

include periodic statement issued for any such account, the identity of the financial organization,

the account number, the name and address of the account holder, and (for each transaction), the

date of the transaction, the amount of money involved, the type of transaction, the resulting

balance of the account, the identity of every individual or organization that was a party to the

transaction, copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests, Defendant has no relevant business records

       (and would have no non-business records) as to such letters in its possession, custody and

       control, responsive to this request.

       55.     REQUEST NO. 55: All documents used to, or that could be used to, reconcile

the claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in its

       possession, custody and control, responsive to this request.

       56.     REQUEST NO. 56: All current financial statements and documents showing

Your current assets.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,




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       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests and as to EMPOWER H.I.S., LLC, Defendant

       has no relevant business records (and would have no non-business records) as to such

       letters in its possession, custody and control, responsive to this request.

       57.     REQUEST NO. 57: All documents related to the current location of any funds

that you received from laboratory tests that were billed through PCMH since January 1, 2016, or

any real or personal property purchased with that money with a value in excess of $20,000.

       Answer: This Defendant objects to the extent the request would otherwise seek its

       private financial information or the financial information of its underlying individuals,

       which is not discoverable at this time. Otherwise, subject to the stated objection, as this

       request is understood, other than what Defendant has produced contemporaneously

       herewith in response to the other requests and as to EMPOWER H.I.S., LLC, Defendant

       has no relevant business records (and would have no non-business records) as to such

       letters in its possession, custody and control, responsive to this request.

       58.     REQUEST NO. 58: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents

related to tenders, coverage denials, or reservations of rights.

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in its possession, custody and control, responsive to this request.

Dated: February 15, 2019.

                                               Respectfully submitted,

                                               CHAPMAN AND COWHERD, P.C.
                                               By: /s/ Lauren A. Horsman
                                               Lauren A. Horsman – Mo Bar No. 60982


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                 Exhibit Q




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,            )
et al.,                                   )
                                          )                   CIVIL ACTION NO.:
                        Plaintiffs,       )
                                          )                   5:18-cv-06037-DGK
v.                                        )
                                          )
HOSPITAL PARTNERS INC., et al.,           )
                                          )
                        Defendants.       )
_________________________________________ )

       DEFENDANT JORGE PEREZ’S AMENDED RESPONSE TO PLAINTIFFS’
                FIRST SET OF REQUESTS FOR PRODUCTION

       In accordance with Fed. R. Civ. P. 26(b)(1) and 34, and the Local Rules for the Western

District of Missouri, Defendant JORGE PEREZ, (“Defendant”) by and through his undersigned

counsel, hereby responds to Plaintiff’s First Set of Requests for Production, in accordance with

the above-mentioned Rules.

                                    GENERAL PARAMETERS

       1.      Defendant will not produce information that may arguably be protected from

discovery under the attorney-client privilege, the work-product doctrine or any other applicable

privilege. Defendant will also not reproduce settlement correspondence between counsel in any

other actions, whether or not Plaintiffs are/were involved.

       2.      To the extent Defendant inadvertently discloses information that may arguably be

protected from discovery under the attorney-client privilege, the work-product doctrine or any

other applicable privilege, such inadvertent disclosure does not constitute a waiver of any such

privilege.

       3.      Defendant will not reproduce information, which is attached to the pleadings and


                                Page 1 of 26
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papers on file in this matter, is already in the possession of Plaintiffs or parties under the control

of Plaintiffs, including without limitation any Fed. R. Civ. P. 26 disclosures.

       4.       Defendant will not respond beyond the obligations imposed by the Fed. R. Civ. P.

34, and will not admit any pure legal conclusions.

       5.       Defendant will not reproduce information beyond a “reasonable” time frame,

where no time frame is proposed.

       6.       Defendant will not reproduce information which is in the public records or public

domain, and which is not otherwise (except as copies of the public records or public domain) in

the files of Defendant.

       7.       Defendant reserves the right to supplement, correct or otherwise modify, his

responses as new facts are ascertained in the course of any further discovery or as unclear facts

become clear.

       8.       Defendant’s provision of any information in response to Plaintiff’s First Set of

Requests for Production is not a concession as to the admissibility of such information or

document. Defendant reserves all objections as to admissibility.

       9.       Defendant has reviewed any proposed instructions, but will only adhere to same,

to the extent the instructions are not in conflict with the applicable Rules.

       10.      As separately noted below in response to the individual requests, Defendant

objects to the use of the terminology “laboratory-billing scheme;” as this Defendant is unaware

of any wrongdoing or “scheme” as pertains to laboratory billing at PCMH. In each case so as to

achieve compliance with this Court’s Order [D.E. #171], Defendant has provided documents

responsive the requests as if the request referenced “laboratory billing at PCMH.”

       11.      Subject to the above General Parameters, Defendant responds to the Plaintiff’s




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First Set of Requests for Production, as follows:

              AMENDED RESPONSES TO REQUESTS FOR PRODUCTION

       1.      REQUEST NO. 1: All documents sent to or received from PCMH regarding the

laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in his possession, custody and

       control, responsive to this request.

       2.      REQUEST NO. 2: All documents sent to or received from any defendant

regarding the laboratory billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in his possession, custody and

       control, responsive to this request.


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       3.     REQUEST NO. 3: All documents sent to or received from any person or entity

other than your counsel regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in his possession, custody and

       control, responsive to this request.

       4.     REQUEST NO. 4: All documents sent to or received from any person other than

your counsel regarding the use of PCMH’s NPI, TIN, name, or other identifier for billing or

claim submission purposes.

       Answer: Defendant partially objects to this request as vague, overly broad, unduly

       burdensome, harassing, and/or seeking information that is irrelevant and/or not

       reasonably calculated to lead to the discovery of admissible evidence; the request seeks

       documents referencing PCMH’s NPI, TIN, name, or other identifier for billing or claim

       submission purposes, which would appear to potentially, be all medical and billing

       records of PCMH.              Notwithstanding the objection, Defendant has produced

       contemporaneously herewith all relevant business records (and would have no non-

       business records) as to such PCMH billing in his possession, custody and control,

       responsive to this request.




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       5.      REQUEST NO. 5: All documents related to the use of any hospital’s NPI, TIN,

name, or other identifier to secure higher reimbursement for laboratory tests.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Notwithstanding the objection the

       request, as the request is understood, Defendant has no responsive documents in his

       possession, custody and control.

       6.      REQUEST NO. 6: All documents sent to or received from any person or entity

other than your counsel regarding billing for laboratory tests through a hospital where (a) the

hospital does not (or did not) perform all of the tests billed; or (b) the tests were for individuals

who were neither inpatients nor outpatients of the hospital or who were not under the medical

supervision of hospital-credentialed healthcare providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. Defendant

       further objects to this request as vague, overly broad, unduly burdensome, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence to the extent that the request seeks information

       related to hospitals other than PCMH. Subject to the objection/restriction to PCMH, and




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       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to PCMH

       laboratory billing in his possession, custody and control, responsive to this request.

       7.     REQUEST NO. 7: All documents addressing, discussing, describing, or

analyzing the Contract.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests (wherein the contract is at

       least impliedly referenced), Defendant has no relevant business records (and would have

       no non-business records) as to such laboratory billing in his possession, custody and

       control, responsive to this request.

       8.     REQUEST NO. 8: All contracts or agreements with PCMH or the defendants

related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in his possession, custody and

       control, responsive to this request.

       9.     REQUEST NO. 9: Any other contracts or agreements with any entity or




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individual related to the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such PCMH laboratory billing in his possession, custody and

       control, responsive to this request.

       10.    REQUEST NO. 10: All documents relating to your relationship with Defendant

Hospital Laboratory Partners, LLC.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request. Note, Defendant was not a record-custodian for

       this entity and maintained no separate email account, therefor.

       11.    REQUEST NO. 11: All documents related to indemnity agreements or

provisions with any party to this litigation or with PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request. Defendant notes that Plaintiffs have been provided




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        the contracts regarding PCMH, the PCMH Board and Putnam County, and further notes

        that PCMH would have its contracts with the other Defendants.

        12.    REQUEST NO. 12: All documents related to the operability or inoperability of

the PCMH Lab and its equipment since January 1, 2016, including records of the purchase, lease,

or other acquisition of all laboratory equipment, as well as records of any periods of inoperability

for any laboratory equipment.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in his possession, custody

        and control, responsive to this request.

        13.    REQUEST NO. 13: All documents relating to the capabilities of the laboratory

equipment at the PCMH Lab from January 1, 2016 to the present.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) in his possession, custody

        and control, responsive to this request.

        14.    REQUEST NO. 14: All documents related to the claims for laboratory tests that

were billed to Plaintiffs through PCMH or using any of PCMH’s identifiers since January 1,

2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        his possession, custody and control, responsive to this request.




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        15.     REQUEST NO. 15: All documents that You contend establish the propriety of

the claims for laboratory tests billed to Plaintiffs through PCMH or using any of PCMH’s

identifiers since January 1, 2016.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        his possession, custody and control, responsive to this request.

        16.     REQUEST NO. 16: All documents related to the provision of laboratory tests

that were billed to Plaintiffs through PCMH, including treatment notes, test order forms (i.e.,

requisitions), test results, and transmittal of test results to ordering providers.

        Answer:     As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory tests in

        his possession, custody and control, responsive to this request.

        17.     REQUEST NO. 17: All documents related to the provision of laboratory tests

that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

        Answer: Defendant partially objects to this request as vague, overly broad, harassing,

        and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

        the discovery of admissible evidence as this request appears to be another way of seeking

        information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

        reference to a “scheme” creates many issues, including potential individual rights to raise




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       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to such laboratory

       tests in his possession, custody and control, responsive to this request.

       18.    REQUEST NO. 18: All documents related to the billing of claims for laboratory

tests that (a) PCMH did not perform; or (b) were for individuals who were neither inpatients nor

outpatients of PCMH or were not under the medical supervision of PCMH-credentialed

providers.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) as to such laboratory

       billing in his possession, custody and control, responsive to this request.

       19.    REQUEST NO. 19: All documents used to market or promote the use of

hospitals to bill for laboratory tests that (a) were not performed by the hospitals billing the

claims; or (b) were for individuals who were neither inpatients nor outpatients of the hospitals

billing the claims or who were not under the medical supervision of providers credentialed by the




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hospitals.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence as this request appears to be another way of seeking

       information alleged to be connected to a “laboratory-billing scheme at PCMH;” the

       reference to a “scheme” creates many issues, including potential individual rights to raise

       protection of the Fifth Amendment Privilege, and is certainly inflammatory. However,

       inasmuch as this Defendant is unaware of any wrongdoing or “scheme” as pertains to

       laboratory billing at PCMH, Defendant has produced contemporaneously herewith all

       relevant business records (and would have no non-business records) in his possession,

       custody and control, responsive to this request.

       20.     REQUEST NO. 20: All documents used to market or promote the laboratory-

billing scheme to providers, laboratories, or any other party.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) in his possession, custody and control, responsive to this request.

       21.     REQUEST NO. 21: All documents related to the generation or acquisition of

patient specimens for laboratory tests billed to Plaintiffs through PCMH.




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       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       his possession, custody and control, responsive to this request.

       22.     REQUEST NO. 22: All communications with any provider who ordered

laboratory tests that were billed to Plaintiffs through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       his possession, custody and control, responsive to this request.

       23.     REQUEST NO. 23: All documents relating to the shipment of any specimens

taken from Plaintiffs’ members, where the testing of such specimens was billed to Plaintiffs

through PCMH or using PCMH’s identifiers.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       specimens in his possession, custody and control, responsive to this request.

       24.     REQUEST NO. 24: Documents sufficient to identify, for the laboratory tests

billed by PCMH to Plaintiffs, where each such test was ordered from, where it was performed,

who reported the results to the ordering provider, and who billed it.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing




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       in his possession, custody and control, responsive to this request.

       25.     REQUEST NO. 25: All documents sent to or received from any defendant,

laboratory, or provider relating to the use of online Internet portals to transmit information about

the laboratory tests at issue to anyone.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. This request could very well be asking

       for any information related to any lab business anywhere in the world. As pertains to this

       matter and PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       his possession, custody and control, responsive to this request.

       26.     REQUEST NO. 26: Any assignment of benefits received from Plaintiffs’

members for the laboratory tests at issue.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory tests in

       his possession, custody and control, responsive to this request.

       27.     REQUEST NO. 27: All documents reflecting billing policies and procedures

relevant to the laboratory-billing scheme at PCMH from January 1, 2016 to the present.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,




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       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in his possession, custody and control,

       responsive to this request.

       28.    REQUEST NO. 28: All documents related to directives regarding laboratory

billings at PCMH.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory billing

       in his possession, custody and control, responsive to this request.

       29.    REQUEST NO. 29: All documents addressing, discussing, describing, or

analyzing what an outreach laboratory is or does.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory in his

       possession, custody and control, responsive to this request. Defendant would further

       direct Plaintiffs to the applicable State and Federal Laws, Codes and Rules.

       30.    REQUEST NO. 30: All documents related to why the laboratory tests at issue

were billed through PCMH rather than any by any other hospital or laboratory.

       Answer:      As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant




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       business records (and would have no non-business records) as to such laboratory billing

       in his possession, custody and control, responsive to this request.

       31.    REQUEST NO. 31: All documents related to defendants’ efforts to collect

copays or coinsurance obligations from Plaintiffs’ members.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such collections in his

       possession, custody and control, responsive to this request.

       32.    REQUEST NO. 32: All documents related to any criticism of, or questioning of

the legality of, the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in his possession, custody and control,

       responsive to this request.

       33.    REQUEST NO. 33: All documents relating to any questions or concerns from

any provider, member, or payor regarding why claims for laboratory tests were billed through

PCMH, or why the questioning the propriety of amounts billed or owed.

       Answer:     As this request is understood, other than what Defendant has produced




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        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such laboratory billing

        in his possession, custody and control, responsive to this request.

        34.      REQUEST NO. 34: All documents related to the employment, supervision, and

termination of phlebotomists (as referenced in the Missouri Auditor’s reports).

        Answer:       As this request is understood, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant has no relevant

        business records (and would have no non-business records) as to such phlebotomists in

        his possession, custody and control, responsive to this request.

        35.      REQUEST NO. 35: All documents regarding legal advice that you received

relating to the laboratory-billing scheme, if you intend to rely on advice of counsel as a defense

in this litigation.

        Answer: Defendant objects to this request as vague, overly broad, harassing, and/or

        seeking information that is irrelevant and/or not reasonably calculated to lead to the

        discovery of admissible evidence; the reference to a “scheme” creates many issues,

        including potential individual rights to raise protection of the Fifth Amendment Privilege,

        and is certainly inflammatory. Further, Defendant objects to this request as it appears to

        seek attorney client privileged information and asserting such “defense” may require a

        waiver of such privilege. At this time, Defendant does not “know” what defenses will

        ultimately be applicable.    However, inasmuch as this Defendant is unaware of any

        wrongdoing or “scheme” as pertains to laboratory billing at PCMH, and without waiving

        the applicable privilege at this time, other than what Defendant has produced

        contemporaneously herewith in response to the other requests, Defendant does not




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       believe he has any relevant business records (and would have no non-business records) in

       his possession, custody and control, responsive to this request.

       36.     REQUEST NO. 36: All documents related to any defendants’ efforts to conceal

or explain the laboratory-billing scheme.

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in his possession, custody and control, responsive to this request.

       37.     REQUEST NO. 37: All documents related to the receipt of payment from

Plaintiffs for the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in his possession, custody and control,

       responsive to this request.

       38.     REQUEST NO. 38: All documents relating to amounts paid or owed to any

entity or individual because of the laboratory-billing scheme at PCMH, including agreements

setting forth amounts owed and reconciliations of amounts owed and paid.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,




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       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant has

       produced contemporaneously herewith all relevant business records (and would have no

       non-business records) as to such laboratory billing in his possession, custody and control,

       responsive to this request.

       39.      REQUEST NO. 39: All documents relating to the payment by any defendant of

anything of value to providers, including indirectly (e.g., through sales personnel or independent

contractors).

       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in his possession, custody and control, responsive to this request.

       40.      REQUEST NO. 40: All documents provided to or received from the Missouri

State Auditor, the Missouri Attorney General, or any other public regulatory, investigative, or

law enforcement agency.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request.

       41.      REQUEST NO. 41: All documents discussing or responding to Plaintiffs’




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investigation of the laboratory-billing scheme.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds

       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in his possession, custody and

       control, responsive to this request.

       42.     REQUEST NO. 42: All documents relating to any public statement, press

release, or interview regarding the laboratory-billing scheme at PCMH.

       Answer: Defendant partially objects to this request as vague, overly broad, harassing,

       and/or seeking information that is irrelevant and/or not reasonably calculated to lead to

       the discovery of admissible evidence; the reference to a “scheme” creates many issues,

       including potential individual rights to raise protection of the Fifth Amendment Privilege,

       and is certainly inflammatory. However, inasmuch as this Defendant is unaware of any

       wrongdoing or “scheme” as pertains to laboratory billing at PCMH, Defendant responds

       by stating that other than what Defendant has produced contemporaneously herewith in

       response to the other requests, Defendant has no relevant business records (and would

       have no non-business records) as to such laboratory billing in his possession, custody and

       control, responsive to this request.




                                Page 19 of 26
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 252 of 314
       43.    REQUEST NO. 43: All documents tabulating amounts billed or received by

PCMH for laboratory tests since January 1, 2016 (or any length of time therein).

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such laboratory

       billing/payments in his possession, custody and control, responsive to this request.

       44.    REQUEST NO. 44: All documents related to proposals and revenue projections

for services that were billed through PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such projections in his

       possession, custody and control, responsive to this request.

       45.    REQUEST NO. 45: All documents related to the dissolution or closure of any

defendant.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such dissolution or

       closure in his possession, custody and control, responsive to this request.

       46.    REQUEST NO. 46: All documents related to any travel that you or your

employees made to PCMH or to meet with any of the defendants regarding PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence. The request appears to seek voluminous




                               Page 20 of 26
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 253 of 314
       amounts of documents, of any travel of numerous persons, at any time, for any purpose,

       and without restriction. In any event, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,

       Defendant has no relevant business records (and would have no non-business records) as

       to such travel in his possession, custody and control, responsive to this request.

       47.     REQUEST NO. 47: All documents related to demand or cease-and-desist letters

sent to or received from any defendant, individual, or entity related to PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in his

       possession, custody and control, responsive to this request.

       48.     REQUEST NO. 48: All documents related to the termination of contracts,

agreements, or relationships with any of the defendants.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request.

       49.     REQUEST NO. 49: All documents related to litigation with any of the

defendants, including all documents produced and received in discovery, all pleadings, and all




                               Page 21 of 26
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 254 of 314
deposition transcripts.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request.

       50.     REQUEST NO. 50: All documents relating to business or managerial changes

that you have made since learning of concerns about the billing arrangement for laboratory

services at PCMH.

       Answer: Defendant objects to this request as vague, overly broad, unduly burdensome,

       harassing, and/or seeking information that is irrelevant and/or not reasonably calculated

       to lead to the discovery of admissible evidence to the extent that the request seeks

       information related to hospitals other than PCMH. Subject to the objection/restriction to

       PCMH, as this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) in his possession, custody

       and control, responsive to this request.

       51.     REQUEST NO. 51: All documents related to the return of money that you

received as a result of laboratory tests that were billed through PCMH since January 1, 2016.

       Answer: Defendant does not have any relevant business records (and would have no




                                Page 22 of 26
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 255 of 314
       non-business records) in his possession, custody and control, responsive to this request.

       52.    REQUEST NO. 52: All transcripts, notes, recordings, statements, or summaries

related to interviews of any defendant’s employees related to laboratory tests billed through

PCMH.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in his

       possession, custody and control, responsive to this request.

       53.    REQUEST NO. 53: All documents related to monies, wire transfers, or payments

received from PCMH since January 1, 2016, with supporting documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek his

       private individual financial information, which is not discoverable at this time.

       Otherwise, subject to the stated objection, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,

       Defendant has no relevant business records (and would have no non-business records) as

       to such letters in his possession, custody and control, responsive to this request.

       54.    REQUEST NO. 54: All documents related to monies, wire transfers, or payments

received from or sent to any defendant related to PCMH since January 1, 2016, with supporting

documentation therefor.

       Answer: This Defendant objects to the extent the request would otherwise seek his

       private individual financial information, which is not discoverable at this time.

       Otherwise, subject to the stated objection, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,




                               Page 23 of 26
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       Defendant has no relevant business records (and would have no non-business records) as

       to such letters in his possession, custody and control, responsive to this request.

       55.     REQUEST NO. 55: Documents sufficient to show the details from January 1,

2016 to the present of all transactions (including receipts, deposits, payments, transfers,

withdrawals, purchases, credit-card transactions, etc.) in any accounts under Your control at

financial institutions that received funds from PCMH, directly or indirectly. The details shall

include periodic statement issued for any such account, the identity of the financial organization,

the account number, the name and address of the account holder, and (for each transaction), the

date of the transaction, the amount of money involved, the type of transaction, the resulting

balance of the account, the identity of every individual or organization that was a party to the

transaction, copies or images of any checks, deposit detail, and wire-transfer details.

       Answer: This Defendant objects to the extent the request would otherwise seek his

       private individual financial information, which is not discoverable at this time.

       Otherwise, subject to the stated objection, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests,

       Defendant has no relevant business records (and would have no non-business records) as

       to such letters in his possession, custody and control, responsive to this request.

       56.     REQUEST NO. 56: All documents used to, or that could be used to, reconcile

the claims submitted to Plaintiffs with the amounts paid by Plaintiffs.

       Answer:     As this request is understood, other than what Defendant has produced

       contemporaneously herewith in response to the other requests, Defendant has no relevant

       business records (and would have no non-business records) as to such letters in his

       possession, custody and control, responsive to this request.




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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 257 of 314
       57.     REQUEST NO. 57: All current financial statements and documents showing

Your current assets.

       Answer: This Defendant objects to the extent the request would otherwise seek his

       private individual financial information, which is not discoverable at this time.

       Otherwise, subject to the stated objection, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests

       and as to EMPOWER H.I.S., LLC and HOSPITAL PARTNERS, INC., Defendant has no

       relevant business records (and would have no non-business records) as to such letters in

       his possession, custody and control, responsive to this request.

       58.     REQUEST NO. 58: All documents related to the current location of any funds

that you received from laboratory tests that were billed through PCMH since January 1, 2016, or

any real or personal property purchased with that money with a value in excess of $20,000.

       Answer: This Defendant objects to the extent the request would otherwise seek his

       private individual financial information, which is not discoverable at this time.

       Otherwise, subject to the stated objection, as this request is understood, other than what

       Defendant has produced contemporaneously herewith in response to the other requests

       and as to EMPOWER H.I.S., LLC and HOSPITAL PARTNERS, INC., Defendant has no

       relevant business records (and would have no non-business records) as to such letters in

       his possession, custody and control, responsive to this request.

       59.     REQUEST NO. 59: All documents related to insurance policies that may provide

a defense or indemnity, including the policies, declaration pages, limits, and any documents

related to tenders, coverage denials, or reservations of rights.




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       Answer: Defendant does not have any relevant business records (and would have no

       non-business records) in his possession, custody and control, responsive to this request.

Dated: February 15, 2019.

                                             Respectfully submitted,

                                             CHAPMAN AND COWHERD, P.C.
                                             By: /s/ Lauren A. Horsman
                                             Lauren A. Horsman – Mo Bar No. 60982
                                             903 Jackson – P.O. Box 228
                                             Chillicothe, MO 64601
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                                             Telefax: 660-646-1105
                                             E-mail: lhorsman@ccttlaw.com
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                                             PARTNERS, INC., EMPOWER H.I.S., LLC, DAVID
                                             BYRNS and JORGE PEREZ


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                                             PARTNERS, INC., EMPOWER H.I.S., LLC, DAVID
                                             BYRNS and JORGE PEREZ
                                             Admitted Pro Hac Vice




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                  Exhibit R




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 260 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                    )
et al.,                                           )
                                                  )       CIVIL ACTION NO.:
                             Plaintiffs,          )
                                                  )       5:18-cv-06037-DGK
V.                                                )
                                                  )
HOSPITAL PARTNERS INC., eta!.,                    )
                                                  )
                             Defendants.          )
-----------------)
            DEFENDANT EMPOWER H.I.S. LLC'S AMENDED RESPONSES TO
                  PLAINTIFF'S FIRST SET OF INTERROGATORIES

       In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant EMPOWER H.I.S. LLC, ("Defendant"). by and through their

undersigned counsel, hereby responds to Plaintiffs First Set of Interrogatories, in accordance

with the above-mentioned Rules.

                     AMENDED RESPONSES TO INTERROGATORIES

       1.      INTERROGATORY NO. 1: How much did you receive, whether directly or

indirectly, as a result of laboratory tests that were billed through PCMH, and how was that

amount calculated?

       RESPONSE: Defendant is unaware of any amounts that it would have received directly

       or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

      would have no actual knowledge of the "source" of any paid funds it received, except that

      they came from the general accounts of PCMH. As to any subject amounts, Defendant

      has separately provided all of the relevant financial documents showing all amounts

      received by Defendant from PCMH.



                                 Page 1 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 261 of 314
       2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 2016?

       RESPONSE: Defendant is unaware of any amounts that it would have received directly

       or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this interrogatory except to state all monies which it received

       would have been generally "spent."

       3.     INTERROGATORY NO. 3: Have you returned any of the money that you

received for services that were billed through PCMH? If not, please explain why you have not

returned the money.

       RESPONSE: Defendant is unaware of any amounts that it would have received directly

       or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this interrogatory except to state all monies which it received

       would have been generally "spent." Defendant is further unaware of any basis to return

       any funds to PCMH by any party.

       4.     INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

      RESPONSE: Yes, because Defendant is unaware of any improper billing arrangement

       atPCMH.

      5.      INTERROGATORY NO. 5: Have you or any of your employees ever suggested




                                Page 2 of7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 262 of 314
to anyone (excluding your attorneys) that the billing arrangement for laboratory services at

PCMH was improper, illegal, or impermissible? If yes, please explain.

        RESPONSE: No, because Defendant is unaware of any improper billing arrangement at

        PCMH.

        6.     INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?

        RESPONSE: Defendant is unaware of any amounts that it would have received directly

        or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this intenogatory except to state all monies which it received

       would have been generally "spent." Defendant is further unaware of any basis to return

       any funds to PCMH by any party.

       7.      INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs

through PCMH or using PCMH-related identifiers?

       RESPONSE:        Defendant does not have any individual understanding of "why" the

       PCMH laboratory tests were billed to Plaintiffs through PCMH or using PCMH-related

       identifiers, except that PCMH could only bill using PCMH-related identifiers, noting that

       PCMH could not bill using another entities identifier. Defendant further suggests that

       only PCMH can answer why they did, what they did.

       8.      INTERROGATORY NO. 8: Identify every person who participated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE:




                                 Page 3 of7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 263 of 314
  Jorge Perez- One of the owners of Hospital Partners Inc. and Empower HIS, LLC

  David Byrns - One of the owners of Hospital Partners Inc. and was the CEO of Putnam

  County Memorial Hospital.

  Hospital Partners, Inc. - Allegedly managed Putnam County Memorial Hospital for the

  Putnam County Memorial Hospital Board, and also allegedly had a lease.

  Empower H.I.S., LLC - Did billing for Putnam County Memorial Hospital.

  Putnam County Memorial Hospital - The Hospital.

  Putnam County Memorial Hospital Board - Decision-making authority for the

  Hospital.

  Howard Luscan - Chahman for the Putnam County Memorial Hospital Board.

  Gayle Pickens - In charge of financial decision-making authority at the Hospital

  Hospital Laboratory Partners, LLC - James F. Porter, Jr. -Laboratory Manager.

  LifeBrite Laboratories, LLC - Christian Fletcher - Laboratory.

  RAJ Enterprises of Central Florida, LLC d/b/a Pinnacle Laboratory Services -

  James F. Porter, Jr. - Lead Laboratory.

  Labmed Services, LLC-Laboratory.

  SeroDynamics, LLC - Beau Gertz - Laboratory.

  Lucenta Labs - Laboratory.

  Mark Blake - Laboratory.

  Putnam County - In charge of the Putnam County Memorial Hospital Board.

  State of Missouri - Adopted CMS rules for Missouri.

  CMS - Set rules to allow reference laboratory billing for Putnam County Memorial

 Hospital.




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        9.     INTERROGATORY NO. 9: Who initially proposed or suggested that you bill

laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE: Defendant did bill laboratory tests for PCMH, but notes that EMPOWER

       H.I.S., LLC did the billing under the direction of PCMH. Defendant does not know who

       first suggested that PCMH bills lab tests. Defendant is unaware of any laboratory tests

       through PCMH where PCMH did not perform all the tests, the members were not treated

       at PCMH, and the members were not under the care of PCMH-credentialed providers.

       10.     INTERROGATORY NO. 10: Do you still do business with any of the

defendants? If not, please explain why. If yes, please describe your current relationship with each

such defendant.

       RESPONSE: EMPOWER H.I.S., LLC provides limited billing services to Christian

       Fletcher and his related labs, unrelated to PCMH.

       11.    INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE:        Defendant does not know when or how such labs became aware of

       PCMH, but presume that they became aware when they contracted with PCMH.

       12.    INTERROGATORY NO. 12: Are you currently participating in any other

laboratory-billing arrangement like the one at PCMH?

       RESPONSE: No.




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    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 265 of 314
                         STATEMENT IDENTIFYING STEPS
                    TO PRESERVE DISCOVERABLE INFORMATION

        13.    EMPOWER H.I.S., LLC, pursuant to the Court's Order of February 1, 2019,

hereby acknowledges that upon becoming aware of this case, it did ensure that all of the emails

under its domain (www.empowerhis.com) (and also www.medxgroup.com) and documents

which were otherwise related to Putnam County Memorial Hospital, continued to be maintained

in the ordinary course, and that no such emails and documents were deleted or otherwise subject

to disposal. Virtually all of such documents were and are stored electronically, and are preserved

"in the cloud;" and will continue to be preserved as such.




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                               SWORN VERIFICATION

STATE OF£for ,'cf~ )
COUNTY OF H'   ·{)J;·
                fO.IM I

       JORGE PEREZ as Manager of EMPOWER H.I.S. LLC, the person signing these answers

to interrogatories, being duly sworn on oath states that he has read the foregoing Amended

Responses to PLAINTIFF'S FIRST SET OF INTERROGATORIES, and the answers given

are true and complete to the best of JORGE PEREZ's information and belief as Manager of

EMPOWER H.I.S. LLC.                                         ,.)


                                         JO
                                         as                        H.I.S. LLC


      The foregoing sworn verification to the Amended Response to PLAINTIFF'S FIRST

SET OF INTERROGATORIES were subscribed and sworn to by JORGE PEREZ as Manager

of EMPOWER H.I.S. LLC, before me, a Notary Public, this   ,s+ty of February 2019.

                                         N ~
My Commission Expires:




                                       Page 7 of7

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                  Exhibit S




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 268 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                     )
et al.,                                            )
                                                   )      CIVIL ACTION NO.:
                            Plaintiffs,            )
                                                   )      5: 18-cv-0603 7-DGK
v.                                                 )
                                                   )
HOSPITAL PARTNERS INC., et al.,                    )
                                                   )
                            Defendants.            )
-----------------)
      DEFENDANT HOSPITAL PARTNERS INC.'S AMENDED RESPONSES TO
             PLAINTIFF'S FIRST SET OF INTERROGATORIES

       In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant HOSPITAL PARTNERS, INC., ("Defendant"). by and through

their undersigned counsel, hereby responds to Plaintiffs First Set of Interrogatories, in

accordance with the above-mentioned Rules.

                     AMENDED RESPONSES TO INTERROGATORIES

       1.     INTERROGATORY NO. 1: How much did you receive, whether directly or

indirectly, as a result of laboratory tests that were billed through PCMH, and how was that

amount calculated?

      RESPONSE: Defendant is unaware of any amounts that it would have received directly

      or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

      would have no actual knowledge of the "source" of any paid funds it received, except that

      they came from the general accounts of PCMH. As to any subject amounts, Defendant

      has separately provided all of the relevant financial documents showing all amounts

      received by Defendant from PCMH.



                                          Page 1 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 269 of 314
       2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 20167

       RESPONSE: Defendant is unaware of any amounts that it would have received directly

       or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this interrogatory except to state all monies which it received

       would have been generally "spent" or "distributed."

       3.     INTERROGATORY NO. 3: Have you returned any of the money that you

received for services that were billed through PCMH? If not, please explain why you have not

returned the money.

       RESPONSE: Defendant is unaware of any amounts that it would have received directly

       or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this interrogatory except to state all monies which it received

       would have been generally "spent." Defendant is further unaware of any basis to return

       any funds to PCMH by any party.

       4.     INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

       RESPONSE: Yes, because Defendant is unaware of any improper billing arrangement

       atPCMH.

       5.     INTERROGATORY NO. 5: Have you or any of your employees ever suggested




                                Page 2 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 270 of 314
to anyone (excluding your attorneys) that the billing arrangement for laboratory services at

PCMH was improper, illegal, or impermissible? If yes, please explain.

        RESPONSE: No, because Defendant is unaware of any improper billing arrangement at

        PCMH.

        6.      INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?

        RESPONSE: Defendant is unaware of any amounts that it would have received directly

        or indirectly, as a result of laboratory tests that were billed through PCMH. Defendant

       would have no actual knowledge of the "source" of any paid funds it received, except that

       they came from the general accounts of PCMH. As to any subject amounts, Defendant

       has no basis to answer this interrogatory except to state all monies which it received

       would have been generally "spent." Defendant is further unaware of any basis to return

       any funds to PCMH by any party.

       7.      INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs

through PCMH or using PCMH-related identifiers?

       RESPONSE:        Defendant does not have any individual understanding of "why" the

       PCMH laboratory tests were billed to Plaintiffs through PCMH or using PCMH-related

       identifiers, except that PCMH could only bill using PCMH-related identifiers, noting that

       PCMH could not bill using another entities identifier. Defendant further suggests that

       only PCMH can answer why they did, what they did ..

       8.      INTERROGATORY NO. 8: Identify every person who participated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE:




                                Page 3 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 271 of 314
  Jorge Perez- One of the owners of Hospital Partners Inc. and Empower HIS, LLC

  David Byrns - One of the owners of Hospital Partners Inc. and was the CEO of Putnam

  County Memorial Hospital.

  Hospital Partners, Inc. - Allegedly managed Putnam County Memorial Hospital for the

  Putnam County Memorial Hospital Board, and also allegedly had a lease.

  Empower H.I.S., LLC - Did billing for Putnam County Memorial Hospital.

  Putnam County Memorial Hospital - The Hospital.

  Putnam County Memorial Hospital Board - Decision-making authority for the

  Hospital.

  Howard Luscan - Chairman for the Putnam County Memorial Hospital Board.

  Gayle Pickens - In charge of financial decision-making authority at the Hospital

  Hospital Laboratory Partners, LLC - James F. Porter, Jr. -Laboratory Manager.

  LifeBrite Laboratories, LLC - Christian Fletcher- Laboratory.

  RAJ Enterprises of Central Florida, LLC d/b/a Pinnacle Laboratory Services -

  James F. Porter, Jr. - Lead Laboratory.

  Labmed Services, LLC-Laboratory.

  SeroDynamics, LLC - Beau Gertz - Laboratory.

 Lucenta Labs - Laboratory.

 Mark Blake - Laboratory.

 Putnam County-In charge of the Putnam County Memorial Hospital Board.

 State of Missouri - Adopted CMS rules for Missouri.

 CMS - Set rules to allow reference laboratory billing for Putnam County Memorial

 Hospital.




                            Page 4 of 7
Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 272 of 314
        9.     INTERROGATORY NO. 9: Who initially proposed or suggested that you bill

laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE: Defendant did bill laboratory tests for PCMH, but notes that EMPOWER

       H.I.S., LLC did the billing under the direction of PCMH. Defendant does not know who

       first suggested that PCMH bills lab tests. Defendant is unaware of any laboratory tests

       through PCMH where PCMH did not perform all the tests, the members were not treated

       at PCMH, and the members were not under the care of PCMH-credentialed providers.

       10.     INTERROGATORY NO. 10: Do you still do business with any of the

defendants? If not, please explain why. If yes, please describe your current relationship with each

such defendant.

       RESPONSE: No.

       11.     INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE:        Defendant does not know when or how such labs became aware of

       PCMH, but presume that they became aware when they contracted with PCMH.

       12.    INTERROGATORY NO. 12: Are you currently participating in any other

laboratory-billing arrangement like the one at PCMH?

       RESPONSE: No.

                        STATEMENT IDENTIFYING STEPS
                   TO PRESERVE DISCOVERABLE INFORMATION




                                Page 5 of7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 273 of 314
       13.     HOSPITAL PARTNERS, INC., pursuant to the Court's Order of February 1,

2019, hereby acknowledges that upon becoming aware of this case, it did ensure that all of the

emails (noting it has no email domain) and documents which were otherwise related to Putnam

County Memorial Hospital, continued to be maintained in the ordinary course, and that no such

emails and documents were deleted or otherwise subject to disposal. Virtually all of such

documents were and are stored electronically, and are preserved "in the cloud;" and will continue

to be preserved as such.




                                Page 6 of7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 274 of 314
                                  SWORN VERIFICATION

STATE OF     ~(o,,.,'vt '\ )
COUNTY OF     M Dc.d<:)!J) ss.
                  I      '
                 \q,...-., -

       JORGE PEREZ as CEO of HOSPITAL PARTNERS, INC., the person signing these

answers to interrogatories, being duly sworn on oath states that he has read the foregoing Amended

Responses to PLAINTIFF'S FIRST SET OF INTERROGATORIES, and the answers given

are true and complete to the best of JORGE PEREZ's information and belief as CEO of

HOSPITAL PARTNERS, INC.

                                                       i        (

                                                   d~l t~
                                            JORGE PlE Z
                                            as CEO\JHOSPITAL PARTNERS, INC.


       The foregoing sworn verification to the Amended Response to PLAINTIFF'S FIRST

SET OF INTERROGATORIES were subscribed and sworn to by JORGE PEREZ as CEO of

HOSPITAL PARTNERS, INC., before me, a Notary Public, this Jj_tiy of February 2019.




                                            Notary Public
My Commission Expires:




                                          Page 7 of7

  Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 275 of 314
                  Exhibit T




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 276 of 314
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               (ST. JOSEPH DIVISION)

RIGHTCHOICE MANAGED CARE INC.,                      )
et al.,                                             )
                                                    )      CIVIL ACTION NO.:
                             Plaintiffs,            )
                                                    )      5:18-cv-06037-DGK
v.                                                  )
                                                    )
HOSPITAL PARTNERS INC., et al.,                     )
                                                    )
                             Defendants.            )
-----------------)
              DEFENDANT JORGE PEREZ'S AMENDED RESPONSES TO
                 PLAINTIFF'S FIRST SET OF INTERROGATORIES

       In accordance with Fed. R. Civ. P. 26(b)(l) and 33, and the Local Rules for the Western

District of Missouri, Defendant JORGE PEREZ, ("Defendant"). by and through their

undersigned counsel, hereby responds to Plaintiff's First Set of Interrogatories, in accordance

with the above-mentioned Rules.

                     AMENDED RESPONSES TO INTERROGATORIES

       1.     INTERROGATORY NO. 1: How much did you receive, whether directly or

indirectly, as a result of laboratory tests that were billed through PCMH, and how was that

amount calculated?

       RESPONSE:       Defendant is unaware of any amounts that he would have received

       directly or indirectly, as a result of laboratory tests that were billed through PCMH, and

       notes that all such amounts would only come derivatively through a service provider, in

      this case HOSPITAL PARTNERS, INC. and EMPOWER H.I.S. LLC. Defendant would

      have no actual knowledge of the "source" of any paid funds he received individually,

      except that they came from the general accounts of PCMH through the general funds of



                                 Page 1 of 7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 277 of 314
       the service providers. As to any subject amounts, Defendant has separately provided all

       of the relevant financial documents from the service providers showing all amounts

       received by Defendant.

       2.     INTERROGATORY NO. 2: Where is the money that you received for laboratory

tests that were billed through PCMH after January 1, 2016?

       RESPONSE:       Defendant is unaware of any amounts that he would have received

       directly or indirectly, as a result of laboratory tests that were billed through PCMH, and

       notes that derivatively through a service provider, in this case HOSPITAL PARTNERS,

       INC. and EMPOWER H.I.S. LLC. Defendant would have no actual knowledge of the

       "source" of any paid funds he received individually, except that they came from the

       general accounts of PCMH through the general funds of the service providers. As to any

       subject amounts, Defendant has no basis to answer this interrogatory except to state all

       monies which he received would have been generally "spent."

       3.     INTERROGATORY NO. 3: Have you returned any of the money that you

received for services that were billed through PCMH? If not, please explain why you have not

returned the money.

       RESPONSE:       Defendant is unaware of any amounts that he would have received

       directly or indirectly, as a result of laboratory tests that were billed through PCMH, and

       notes that derivatively through a service provider, in this case HOSPITAL PARTNERS,

       INC. and EMPOWER H.I.S. LLC. Defendant would have no actual knowledge of the

      "source" of any paid funds he received individually, except that they came from the

       general accounts of PCMH through the general funds of the service providers. As to any

      subject amounts, Defendant has no basis to answer this interrogatory except to state all




                                Page 2 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 278 of 314
       monies which he received would have been generally "spent." Defendant is further

       unaware of any basis to return any funds to PCMH.

       4.      INTERROGATORY NO. 4: Do you claim that the laboratory-billing arrangement

at PCMH was proper? If yes, please explain why.

       RESPONSE: Yes, because Defendant is unaware of any improper billing arrangement

       atPCMH.

       5.      INTERROGATORY NO. 5: Have you or any of your employees ever suggested

to anyone (excluding your attorneys) that the billing arrangement for laboratory services at

PCMH was improper, illegal, or impermissible? If yes, please explain.

       RESPONSE: No, because Defendant is unaware of any improper billing arrangement at

       PCMH.

       6.     INTERROGATORY NO. 6: Do you intend to keep all of the money that you

received for laboratory services that were billed through PCMH?

       RESPONSE:       Defendant is unaware of any amounts that he would have received

       directly or indirectly, as a result of laboratory tests that were billed through PCMH, and

       notes that derivatively through a service provider, in this case HOSPITAL PARTNERS,

       INC. and EMPOWER H.I.S. LLC. Defendant would have no actual knowledge of the

       "source" of any paid funds he received individually, except that they came from the

       general accounts of PCMH through the general funds of the service providers. As to any

       subject amounts, Defendant has no basis to answer this interrogatory except to state all

       monies which he received would have been generally "spent." Defendant is further

       unaware of any basis to return any funds to PCMH.

       7.     INTERROGATORY NO. 7: Why were the laboratory tests billed to Plaintiffs




                                Page 3 of7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 279 of 314
through PCMH or using PCMH-related identifiers?

       RESPONSE:        Defendant does not have any individual understanding of "why" the

       PCMH laboratory tests were billed to Plaintiffs through PCMH or using PCMH-related

       identifiers, except that PCMH could only bill using PCMH-related identifiers, noting that

       PCMH could not bill using another entities identifier. Defendant further suggests that

       only PCMH can answer why they did, what they did.

       8.      INTERROGATORY NO. 8: Identify every person who participated m the

laboratory-billing arrangement and define the role that each played.

       RESPONSE:

       Jorge Perez- One of the owners of Hospital Partners Inc. and Empower HIS, LLC

       David Byrns - One of the owners of Hospital Partners Inc. and was the CEO of Putnam

       County Memorial Hospital.

       Hospital Partners, Inc. - Allegedly managed Putnam County Memorial Hospital for the

       Putnam County Memorial Hospital Board, and also allegedly had a lease.

       Empower H.I.S., LLC - Did billing for Putnam County Memorial Hospital.

       Putnam County Memorial Hospital - The Hospital.

       Putnam County Memorial Hospital Board - Decision-making authority for the

       Hospital.

       Howard Luscan - Chairman for the Putnam County Memorial Hospital Board.

       Gayle Pickens - In charge of financial decision-making authority at the Hospital

       Hospital Laboratory Partners, LLC - James F. Porter, Jr. -Laboratory Manager.

       LifeBrite Laboratories, LLC - Christian Fletcher - Laboratory.




                                Page 4 of7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 280 of 314
        RAJ Enterprises of Central Florida, LLC d/b/a Pinnacle Laboratory Services -

        James F. Porter, Jr. - Lead Laboratory.

        Labmed Services, LLC - Laboratory.

        SeroDynamics, LLC - Beau Gertz - Laboratory.

        Lucenta Labs - Laboratory.

        Mark Blake - Laboratory.

        Putnam County- In charge of the Putnam County Memorial Hospital Board.

        State of Missouri - Adopted CMS rules for Missouri.

        CMS - Set rules to allow reference laboratory billing for Putnam County Memorial

       Hospital.

       9.      INTERROGATORY NO. 9: Who initially proposed or suggested that you bill

laboratory tests through PCMH even though PCMH did not perform all the tests, the members

were not treated at PCMH, and the members were not under the care of PCMH-credentialed

providers?

       RESPONSE:        Defendant did not bill any laboratory tests for PCMH, but notes that

       EMPOWER H.I.S., LLC did the billing under the direction of PCMH. Defendant does

       not know who first suggested that PCMH bills lab tests. Defendant is unaware of any

       laboratory tests through PCMH where PCMH did not perform all the tests, the members

       were not treated at PCMH, and the members were not under the care of PCMH-

       credentialed providers.

       10.     INTERROGATORY NO. 10: Do you still do business with any of the

defendants? If not, please explain why. If yes, please describe your current relationship with each

such defendant.




                                 Page 5 of7
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 281 of 314
       RESPONSE:        EMPOWER H.I.S., LLC provides limited billing services to Christian

       Fletcher and his related labs, unrelated to PCMH.

        11.    INTERROGATORY NO. 11: When and how were the pass-through labs, as

defined in the Third Amended Complaint, made aware that their services would be or were being

billed through PCMH?

       RESPONSE:        Defendant does not know when or how such labs became aware of

       PCMH, but presume that they became aware when they contracted with PCMH.

       12.     INTERROGATORY NO. 12: Are you currently participating in any other

laboratory-billing arrangement like the one at PCMH?


                         STATEMENT IDENTIFYING STEPS
                    TO PRESERVE DISCOVERABLE INFORMATION

       13.     JORGE PEREZ, pursuant to the Court's Order of February 1, 2019, hereby

acknowledges that upon becoming aware of this case, he did ensure that all of his emails and

documents which were otherwise related to Putnam County Memorial Hospital, continued to be

maintained in the ordinary course, and that no such emails and documents were deleted or

otherwise subject to disposal. Virtually all of such documents were and are stored electronically,

and are preserved "in the cloud;" and will continue to be preserved as such.




                                Page 6 of 7
    Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 282 of 314
                                                     SWORN VERIFICATION

STATE OF    r-1 ,\Jc, )Of

              )..( I        1   ()      (J )   SS,
COUNTY OFI \ tO.jtt ,-               dt(J:.S
       JORGE PEREZ, the person signing these answers to interrogatories, being duly sworn on

oath states tb.at he has read the foregoing Amended Responses to PLAINTIFF'S FIRST SET OF

INTERROGATORIES, and the answers given are true and complete to the best of JORGE

PEREZ's, information and belief.




       The foregoing sworn verification to the Amended Response to PLAINTIFF'S FIRST

SET OF INTERROGATORIES were subscribed and sworn to by JORGE PEREZ, before me,

a Notary Public, this Jj_t~y of February 2019.




                                                           Notary Public
My Commission Expires:




                                                         Page 7 of7

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                 Exhibit U




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 284 of 314
From:               Pfejffer, Jason w.
To:                 RK Putnam
Subject:            FW: RightCHOICE Managed Care, Inc. et al v. Hospital Partner, Inc, et al
Date:               Saturday, May 18, 2019 8:24:44 AM




From: Frank Smith <frank.smith@fmslawyer.com>
Sent: Saturday, May 18, 2019 6:55 AM
To: Moore, Nathaniel J.<NMoore@RobinsKaplan.com>; Pfeiffer, Jason W.
<JPfeiffer@RobinsKaplan.com>
Subject: [EXTERNAL] Re: RightCHOICE Managed Care, Inc. et al v. Hospit al Partner, Inc, et al

l believe the upload is still continuing. Please email me with any issues accessing the data .

Best regards,


Frank Smith, Esq.
FMS Lawyer Pl
9900 Stirling Road, Suite 226
Cooper City, Florida 33024
Tel. 954-985-1400
Fax.954-241-6947
frank.smitb@fmslawyer.com
www.fmslawyer com


On May 17, 2019, at 11:01 PM, Frank Smith <frank,smith@fmslawyer.com> wrote:

           Dear Nate and Jason:

           The following drop box link contains the materials being produced today for
           Defendants' Hospital Partners, Inc. Empower H.l. S., LLC, and Jorge Perez
           responses to the Requests for Production of Documents. The materials should all
           be denoted as ·'Confidential" at this time until Monday per my discussion with
           Nate. I will be in touch by Monday afternoon to address the re-designation of
           everything in the box.

           bttps://www.dropbox.com/sh/yl nJwkgt97(m3lq/AACjN Ix5Mlm4mJtkupCfggCOa?
           dl=O
           Note, the link is the same as previous as the client has indicated they added
           everything else they found pursuant to the Judge' s order. Please call me if there
           are any problems with access.

           I understand the uploading process is ongoing as l send this and will keep you
           apprised of any problems.

           Best regards,




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 285 of 314
    Frank Smith, Esq.

    FMS Lawyer PL
    9900 Stirling Road, Suite 226
    Cooper City, Florida 33024
    Tel. 954-985-1400
    Fax. 954-241-6947
    frank.smith@fmslawyer.com
    www.fmslawyer.com
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    United States law, including but not limited to the Internal Revenue Code.




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                 Exhibit V




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 287 of 314
From:                Ronald o. Marney
To:                  Moore Nathaniel J.
Cc:                  Pfeiffer. Jason w.; Hansen. J. Haynes
Subject:             [EXTERNAL] Re: Putnam - Perez/Empower Production
Date:                Friday, June 21, 2019 5:26:31 PM
Attachments:         image003.ong

Nate nice to meet you. I have hired an e discovery group and I think they will get started early
next week. You guys probably know better than I how long it takes to get this done but I will
get an estimate when they see what they are looking at. It will be before the next hearing for
sure because I don't want to take my toothbrush to court. Stand by and I will update you next
week. Have a good weekend. Ron

Ronald D. Marney II
Shareholder
Sandberg Phoenix & von Gontard P .C.
4600 Madison Ave. Suite 1000
Kansas City, MO 64112
Direct: 816.627.5533

On Jun 21 , 2019, at 8:58 AM, Moore, Nathaniel J. <NMowe@robjnskapian.com> wrote:


        Hi Ron,

        Nice to meet you (even briefly) in Atlanta.

        Do you have any update on when we can expect a production from your clients in
        Putnam?

        Thank you,
        Nate

           Nathaniel J. Moore
           <image003.png>
           Robins Kaplan LLP 1800 LaSalle Avenue I Suite 2800 I Minneapolis, MN 55402
           p 612 349 0646 I f 612 339 4181 I NMoorc@RobinsKaplan.com I RobinsKaplan.com




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   Pursuant to requirements related to practice before the U.S. Internal Revenue
   Service, any tax advice contained in this communication (including any
   attachments) is not intended to be used, and cannot be used, for purposes of (i)
   avoiding penalties imposed under the U. S. Internal Revenue Code or (ii)
   promoting, marketing or recommending to another person any tax-related matter.

   Thank you in advance for your cooperation.

    Robins Kaplan LLP
    http://www.robjnskapLan.com




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                Exhibit W




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 290 of 314
From:            Moore. Nathaniel J.
To:              BK evroam
Subject:         FW: [EXTERNAL) Empower and Perez Documents [SPVG-l1B1.AD1739221)
Date:            Wednesday, August 21, 2019 8:39:50 AM
Attachments:     lmageOOJ .jog




From: Michael J. Rudd <mrudd@sandbergphoenix.com>
Sent: Tuesday, August 20, 2019 8:17 PM
To: Moore, Nathaniel J. <NMoore@RobinsKaplan.com>
Cc: Pfeiffer, Jason W. <JPfeiffer@RobinsKaplan.com>; Ronald D. Marney
<rmarney@sandbergphoenix.com>; Meghan M. Sholy <msholy@sandbergphoenix.com>
Subject: RE: [EXTERNAL) Empower and Perez Documents [SPVG-LIB1.FID1739221]


Nate,

You are correct. The documents that will be produced on Monday will be the Dropbox data in a
useable format and Bates stamped . There are responsive emails, financials, and other "operations
documents" in that set that you will hopefully be able to view and search once thee-discovery
vendor finishes their work.


We have recently obtained additional documents through the forensic t eam of our e-discovery
vendor. Currently there are more than 600,000 documents that were sourced from that forensic
collection. The e-discovery vendor is working to get the total number of documents refined to a
manageable review set using search terms based on your requests for production. This is a very
recent development and they have not been able to get me a count on the review set at this point.
Once I have a count on the review set I will be able to give you an idea of when that supplementary
production will be completed.




Michael Rudd
Associate
4600 Madison Avenue, Suite 1000
Kansas City, MO 64112
mrudd@sandbergphoenix.com
Tel: 816 .627.5332 I Direct: 816.425.96991 Fax: 816.627.5532
http://www.sandbergphoenix.com

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From: Moore, Nathaniel J. [mailto:NMoore@RobinsKap!an.com]




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 291 of 314
Sent: Tuesday, August 20, 2019 7:55 PM
To: Michael J. Rudd
Cc: Pfeiffer, Jason W.; Ronald D. Marney; Meghan M. Sholy
Subject: Re: [EXTERNAL] Empower and Perez Documents [SPVG-LIB1.FID1739221]

Thanks, Michael. We appreciat e the update.


Our understanding from our last call is that the forthcoming production will contain the documents
previously uploaded to Dropbox by your predecessor counsel, but now in a useable format and
Bates stamped. Is that right, or does this also contain the responsive emails, financials, and other
"operations documents" from Empower that have yet to be produced?


Thank you,
Nate



On Aug 20, 2019, at 7:44 PM, Michael J. Rudd <mrudd@sandbergphoenix.com> wrote:

       Nate,


       Hope you are well. I am writing to provide you with an update on t he documents
       coming from Empower and Perez. Thee-discovery vendor is currently working to get
       those ready for production. They are telling me the documents will be ready to be
       produced on Monday. There is a chance they will be ready sooner. However, the
       processing power of the computer that gets those documents converted into text files
       and categorizes the meta-data so you can search through the document set seems to
       be the limit ing factor. If there is any way I can get those to you sooner I will. Tha nks.



       <image001.jpg>
       Michael Rudd
       Associate
       4600 Madison Avenue, Suite 1000
       Kansas City, MO 64112
       mrudd@sandbergphoenix.com
       Tel: 816.627.5332 I Direct: 816.425.96991 Fax: 816.627.5532
       http://www.sandbergphoenix,com
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Pursuant to requirement~ related to practice before the U.S. Internal Revenue Service, any tax
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Internal Revenue Code or (ii) promoting, marketing or recommending to another person any
tax-related matter.

Thank you in advance for your cooperation.

Robins Kaplan LLP
http://www.robinskap lan com




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                  Exhibit X




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 294 of 314
                                                                               Page 1
 1                IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
 2                            ST. JOSEPH DIVISION
 3   _______________________________
 4   RIGHTCHOICE MANAGED CARE, INC.,
 5   et al.,
 6               Plaintiffs,                                        Civil Action
 7   vs.                                                     No. 5:18-CV-06037-DGK
 8   HOSPITAL PARTNERS, INC.; HOSPITAL
 9   LABORATORY PARTNERS, LLC; EMPOWER
10   H.I.S. LLC; RAJ ENTERPRISES OF
11   CENTRAL FLORIDA, LLC d/b/a
12   PINNACLE LABORATORY SERVICES;
13   LABMED SERVICES, LLC; SERODYNAMICS,
14   LLC; DAVID BYRNS; JORGE PEREZ;
15   JAMES F. PORTER, JR.; BEAU GERTZ;
16   and MARK BLAKE,
17               Defendants.
18   ________________________________
19

20         VIDEO RECORDED DEPOSITION OF EMPOWER H.I.S., LLC
21                                Miami, Florida
22                     Tuesday, September 10, 2019
23

24   Reported by:      TRACEY S. LOCASTRO, RPR, FPR
25   Job Number:      167516

                         TSG Reporting - Worldwide   877-702-9580
      Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 295 of 314
                                                                            Page 2
 1

 2

 3

 4

 5                                       Tuesday, September 10, 2019
 6                                       10:16 a.m.
 7

 8

 9

10               Video recorded deposition of EMPOWER H.I.S.,
11         LLC, held at the offices of Regus Executive
12         Suites, 801 Brickell Avenue, Suite 900, Miami,
13         Florida, pursuant to Notice of Taking Deposition
14         filed by the Plaintiffs in the above cause
15         before Tracey S. LoCastro, a Registered
16         Professional Reporter and Notary Public of the
17         State of Florida.
18

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25



                        TSG Reporting - Worldwide   877-702-9580
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 296 of 314
                                                                            Page 3
 1     A P P E A R A N C E S:
 2
       ROBINS KAPLAN
 3     800 LaSalle Avenue
 4     Minneapolis, Minnesota 55402
       BY: AMI ELSHAREIF, ESQ.
 5     BY: JAIME WING, ESQ. (VIA TELEPHONE)
       BY: NATE MOORE, ESQ. (VIA TELEPHONE)
 6     Counsel for Plaintiffs
 7
 8     SANDBERG, PHOENIX & von GONTARD
       4600 Madison Avenue
 9
       Kansas City, Missouri 64112
10     BY: RONALD MARNEY, ESQ.
       Counsel for Defendants Jorge Perez and Empower H.I.S.
11
12
       HUSCH BLACKWELL
13     4801 Main Street
14     Kansas City, Missouri 64112
       BY: JR MONTGOMERY, ESQ. (VIA TELEPHONE)
15     Counsel for Defendants Mark Blake, Beau Gertz,
       SeroDynamics and LabMed
16
17
18     JOHNSTON LAW FIRM
       811 Grand Boulevard
19
       Kansas City, Missouri 64106
20     BY: JUSTIN JOHNSTON, ESQ. (VIA TELEPHONE)
       Counsel for Defendants David Byrns
21
22
23     ALSO PRESENT:
       Carlos Lopez, Videographer
24
25


                        TSG Reporting - Worldwide   877-702-9580
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 297 of 314
                                                                            Page 4
 1                                            I N D E X
 2

                                        E X H I B I T S
 3

         NUMBER                 DESCRIPTION                         PAGE
 4

         Exhibit 309            Plaintiff's Third                       6
 5                              Amended Notice of
                                Taking 30(b)(6)
 6                              Deposition of Defendant
                                Empower H.I.S., LLC
 7                              (9-page document)
 8

 9     REPORTER'S CERTIFICATE                                           9
10

11

12

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14

15

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19

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24

25


                        TSG Reporting - Worldwide   877-702-9580
     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 298 of 314
                                                                              Page 5
 1                      VIDEOGRAPHER:          This is the start of           10:15
 2               media label number 1 of the video recorded                   10:15
 3               deposition of Empower H.I.S., LLC 30(b)(6)                   10:15
 4               in the matter of RightCHOICE Managed Care,                   10:15
 5               Inc., et al. versus Hospital Partners,                       10:16
 6               Inc., et al.                                                 10:16
 7                      This deposition is being held at 801                  10:16
 8               Brickell Avenue, Miami, Florida 33131 on                     10:16
 9               September 10th, 2019 at approximately                        10:16
10               10:16 a.m.                                                   10:16
11                      My name is Carlos Lopez.                    I'm the   10:16
12               legal video specialist from TSG Reporting,                   10:16
13               Inc.                                                         10:16
14                      The court reporter is Tracey LoCastro                 10:16
15               in association with TSG.                                     10:16
16                      Will counsel please introduce
17               yourself for the record.                                     10:16
18                      MS. ELSHAREIF:           Ami ElShareif of             10:16
19               Robins Kaplan on behalf of plaintiffs.                       10:16
20                      MR. MARNEY:         Ron Marney on behalf of           10:16
21               Jorge Perez, Empower H.I.S. and                              10:16
22               Hospital Partners.                                           10:16
23                      MR. MOORE:        Nate Moore, also from               10:16
24               Robins Kaplan, on behalf of the                              10:16
25               plaintiffs, attending telephonically.                        10:16


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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 299 of 314
                                                                              Page 6
 1                    MR. MONTGOMERY:               JR Montgomery on          10:16
 2               behalf of LabMed, SeroDynamics, Mark Blake                   10:16
 3               and Beau Gertz, also appearing                               10:17
 4               telephonically.                                              10:17
 5                    COURT REPORTER:               Mr. Johnson --            10:17
 6               Johnston?       Sorry.                                       10:17
 7                    (No response was heard from the
 8               conference call.)
 9                    MR. MARNEY:          Now what do we do?
10                    COURT REPORTER:               I don't have anyone       10:17
11               to swear.                                                    10:17
12                    MS. ELSHAREIF:            Nope.                         10:17
13                    Why don't we begin by marking as an                     10:17
14               exhibit Plaintiff's Third Amended Notice                     10:17
15               of Taking 30(b)(6) Deposition of Defendant                   10:17
16               Empower H.I.S., LLC.
17                    COURT REPORTER:               That will be 309.
18                    (Empower H.I.S., LLC Deposition
19       Exhibit 309 was marked for identification.)                          10:17
20                    MR. JOHNSTON:           Ma'am, I apologize.         I   10:17
21               had my microphone muted.                  It's Justin        10:17
22               Johnston on behalf of the defendant David                    10:17
23               Byrns, also appearing telephonically.                        10:17
24                    COURT REPORTER:               Thank you.                10:17
25                    MS. ELSHAREIF:            Plaintiffs understand         10:17


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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 300 of 314
                                                                            Page 7
 1               that defendant Empower H.I.S., LLC has no                  10:17
 2               representative available to be deposed on                  10:18
 3               the topics listed in plaintiff's                           10:18
 4               deposition notice because every person                     10:18
 5               knowledgeable about the topics would                       10:18
 6               invoke their Fifth Amendment privilege and                 10:18
 7               refuse to testify.                                         10:18
 8                    Plaintiffs also understand that
 9               defendant Empower H.I.S., LLC is unable to                 10:18
10               prepare another representative to be                       10:18
11               deposed on the topics listed in                            10:18
12               plaintiff's deposition notice because the                  10:18
13               persons knowledgeable about the topics                     10:18
14               would invoke their Fifth Amendment                         10:18
15               privilege and refused to prepare the                       10:18
16               designated representative.                                 10:18
17                    Mr. Marney is here on behalf of                       10:18
18               Empower H.I.S., LLC.                                       10:18
19                    Mr. Marney, would you confirm that                    10:18
20               statement?                                                 10:18
21                    MR. MARNEY:          I agree with your                10:18
22               statement.                                                 10:18
23                    MS. ELSHAREIF:            Plaintiffs advised          10:18
24               Mr. Marney in advance of this deposition                   10:18
25               via email on August 22nd, 2019 that they                   10:18


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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 301 of 314
                                                                            Page 8
 1               would seek the imposition of sanctions                     10:18
 2               against Empower H.I.S., LLC if it did not                  10:18
 3               make a representative available to discuss                 10:18
 4               the topics listed in plaintiff's                           10:18
 5               deposition notice.                                         10:18
 6                     Is that correct?                                     10:18
 7                     MR. MARNEY:         I agree with that too.           10:18
 8                     MS. ELSHAREIF:           With that, nothing          10:18
 9               further in this deposition.                                10:18
10                     MR. MARNEY:         I have no questions.             10:19
11                     VIDEOGRAPHER:          Time is 10:19 a.m.            10:19
12               We're going off the record.                                10:19
13                     (The deposition concluded at
14       10:19 a.m.)
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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 302 of 314
                                                                            Page 9
 1                          REPORTER'S CERTIFICATE
 2

 3    STATE OF FLORIDA
 4    COUNTY OF PALM BEACH
 5

 6                 I, TRACEY S. LOCASTRO, RPR, certify that I
 7    was authorized to and did stenographically report the
 8    foregoing deposition of EMPOWER H.I.S., LLC; that a
 9    review of the transcript was not requested; and that
10    the foregoing transcript, pages 1 through 9, is a true
11    record of my stenographic notes.
12

13                 I FURTHER CERTIFY that I am not a relative,
14    employee, attorney, or counsel of any of the parties,
15    nor am I a relative or employee of any of the parties'
16    attorney or counsel connected with the action, nor am I
17    financially interested in the action.
18

19                 Dated this 23rd day of September, 2019 at
20    Palm Beach County, Florida.
21

22

23                ____________________________
24                TRACEY S. LOCASTRO, RPR, FPR
25



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                  Exhibit Y




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 304 of 314
                                                                             Page 1
 1                UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MISSOURI
 2                      ST. JOSEPH DIVISION
 3              Civil Action No. 5:18-CV-06037-DGK
 4   RightCHOICE Managed Care, Inc., et al.,
 5             Plaintiffs,
 6   -vs-
 7   Hospital Partners, Inc.; Hospital
     Laboratory Partners, LLC; Empower
 8   H.I.S. LLC; RAJ Enterprises of
     Central Florida, LLC d/b/a
 9   Pinnacle Laboratory Services;
     Labmed Services, LLC;
10   Serodynamics, LLC;
     David Byrns; Jorge Perez;
11   James F. Porter, Jr.; Beau Gertz;
     and Mark Blake,
12
               Defendants.
13   ___________________________________________/
14
15
16                      STATEMENT ON THE RECORD
17         RE:    30(b)(6) DEPOSITION OF HOSPITAL PARTNERS
18
                      Wednesday, September 18, 2019
19                        9:50 a.m. - 9:54 a.m.
20                          One Alhambra Plaza
                       Coral Gables, Florida 33134
21
22
23   Stenographically Reported By
     Pamela J. Pelino, RPR, FPR, CLR
24   Notary Public, State of Florida
     TSG REPORTING
25   Job #:166763

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                                                                             Page 2
 1   APPEARANCES:
 2   On behalf of the Plaintiffs:
 3        JAIME WING, ESQUIRE
          NATHANIEL MOORE, ESQUIRE
 4        ROBINS KAPLAN
          800 LaSalle Avenue
 5        Minneapolis, Minnesota 55402
 6
 7
 8
     On behalf of the Defendants Hospital Parnters, Inc.;
 9      Empower H.I.S., LLC; Jorge Perez:
10        RONALD MARNEY, ESQUIRE
          SANDBERG PHOENIX & VON GONTARD
11        4600 Madison Avenue
          Kansas City, MO 64112
12
13
14
     On behalf of the Defendants Labmed Services,
15      Serodynamics, Beau Gertz, Mark Blake:
16        SARAH ZIMMERMAN, ESQUIRE
          HUSCH BLACKWELL
17        190 Carondelet Plaza
          St. Louis, Missouri 63105
18        (appeared telephically)
19
20
21   On behalf of the Defendant David Byrns:
22        JUSTIN JOHNSTON, ESQUIRE
          THE JOHNSTON LAW FIRM
23        811 Grand Boulevard
          Kansas City, Missouri 64106
24        (appeared telephonically)
25


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                                                                             Page 3
 1                    P R O C E E D I N G S
 2                               - - -
 3             THE VIDEOGRAPHER:         We're on the video record. 09:49
 4      The time is approximately 9:51 a.m.                  Today is      09:49
 5      September 18th, 2019.         This is the start of video           09:49
 6      media disk Number 1 of the video deposition of the                 09:49
 7      30(b)(6) deposition of Hospital Partners.                          09:49
 8             Please note, as the microphones are very                    09:49
 9      sensitive, be aware that they can pick up                          09:49
10      whispering and conversations not intended for the                  09:49
11      record.    Additionally please turn off your cell                  09:49
12      phones or place them away from the microphones.                    09:49
13      They can interfere with the audio.                 The audio and   09:49
14      video recording will continue to take place unless                 09:49
15      all parties agree to go off the record.                            09:50
16             This is in the matter of RightCHOICE Managed                09:50
17      Care, Inc., et al., versus Hospital Partners, Inc., 09:50
18      et al., in the United States District Court,                       09:50
19      Western District of Missouri, St. Joseph Division,                 09:50
20      Case Number 5:18-CV-06037-DGK.               This deposition is    09:50
21      being held at the Regus Conference Center, One                     09:50
22      Alhambra Plaza, Penthouse, Coral Gables, Florida.                  09:50
23             My name is Thomas Olender.               I'm the certified 09:50
24      legal video specialist from TSG Reporting, Inc.,                   09:50
25      headquartered at 747 3rd Avenue, New York,                         09:50


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                                                                            Page 4
 1      New York.    The court reporter is Pamela Pelino,             09:50
 2      also in association with TSG Reporting.                       09:50
 3             Would counsel please introduce yourselves.             09:50
 4      State whom you represent, starting with the                   09:50
 5      noticing attorney, and then -- well, there is no              09:50
 6      witness to swear in.                                          09:51
 7             MR. MOORE:     This is Nate Moore from Robins          09:51
 8      Kaplan on behalf of the plaintiffs.                           09:51
 9             MR. MARNEY:      Ron Marney for Hospital               09:51
10      Partners, Inc., Empower H.I.S., and Jorge Perez.              09:51
11             MR. WING:     Jaime Wing on behalf of                  09:51
12      plaintiffs.                                                   09:51
13             MS. ZIMMERMAN:        Sarah Zimmerman on behalf of     09:51
14      Labmed Services, Serodynamics, Beau Gertz, Mark               09:51
15      Blake, with the law firm Husch Blackwell.                     09:51
16             MR. MOORE:     With no witness to swear in, it         09:51
17      is plaintiffs' understanding that the individuals             09:51
18      with knowledge of the topics listed in plaintiffs'            09:51
19      30(b)(6) deposition notice to Hospital Partners               09:51
20      would all invoke the -- their Fifth Amendment                 09:51
21      privilege and refuse to testify and that those same 09:52
22      persons would similarly refuse to prepare any other 09:52
23      person to appear as the corporate representative              09:52
24      today on behalf of Hospital Partners; is that                 09:52
25      correct?                                                      09:52


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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 308 of 314
                                                                             Page 5
 1             MR. MARNEY:      That's correct.                            09:52
 2             MR. MOORE:     At this point, other than noting             09:52
 3      that plaintiffs have previously made clear to                      09:52
 4      counsel for Hospital Partners that they believe                    09:52
 5      sanctions are appropriate, plaintiffs have nothing                 09:52
 6      further.                                                           09:52
 7             MR. MARNEY:      I agree with that.                         09:52
 8             THE VIDEOGRAPHER:         Okay.       This concludes the    09:52
 9      30(b)(6) deposition of Hospital Partners,                          09:52
10      consisting of one video media disk.                  The time is   09:52
11      9:54 a.m., and we're going off the record.                         09:52
12             (Statement Concluded at 9:54 a.m.)                          09:52
13                              -    -   -                                 09:52
14                                                                         09:52
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     Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 309 of 314
                                                                              Page 6
 1                                 - - -                                09:52
 2                      C E R T I F I C A T E                           09:52
 3                                                                      09:52
 4   THE STATE OF FLORIDA                                               09:52
     COUNTY OF PALM BEACH                                               09:52
 5                                                                      09:52
 6                                                                      09:52
 7              I, PAMELA J. PELINO, Registered Professional            09:52
 8   Reporter, State of Florida at large, certify that I was            09:52
 9   authorized to and did stenographically report the                  09:52
10   foregoing proceedings and that the transcript is a true            09:52
11   and complete record of my stenographic notes.                      09:52
12              Dated this 30th day of September, 2019.                 09:52
13                                                                      09:52
14                                                                      09:52
15                          ___________________________                 09:52
                            PAMELA J. PELINO, RPR, FPR                  09:52
16                                                                      09:52
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                          TSG Reporting - Worldwide 877-702-9580
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                  Exhibit Z




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 311 of 314
From:                                                daviedlb @aol.com
Sent:                                               Tuesday, Sept ember 13, 2016 11 :16 AM
To:                                                 jperez@ernpower.md
Subject:                                             Fwd : Blue Cross Cont ract
Attachments:                                         Blue Cross Contract. pd f



Jorge , this co ntract is screwy . It is a ma naged ca re co ntra ct to begi n with but it has th e BCBS re imbursement rate sheet
at the end .

Call me as so on as you can .

Dav id L. Byrns


-----Orig inal Message-----
From Rhonda Webber <rwebber@pcm hosp.com>
To : DavieDLB <DavieDLB@a ol.co m>
Sent : Tue , Sep 13 , 2016 12:13 pm
Subject : Blue Cross Contract




R./iondtz )1/ebfer
Accounts Payable
Putnam County Memoria l Hospital
1926 Oak Street
P.O . Box 389
Unionville, MO 63565
Phone 660-947-3673 Ext 2313
Fax 660-947-3825



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                                                                                                                                                                                                                  "JJ-;)__
                                                                                                                                                                                                             : : - - - - -.....              q
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                                                                                                                                                                                                       ~ f/- 111-10
            Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 312 of 314 Byrns0034894
              Exhibit AA




Case 5:18-cv-06037-DGK Document 362-1 Filed 02/07/20 Page 313 of 314
From:                                Beau Gertz <beau@cadiramd.com>
Sent:                                Friday, November 4, 2016 11:24 AM
To:                                  daviedlb@aol.com
Cc:                                 jperez@med xgroup.com
Subject:                             Re: Signed Agreements



Team,

Thank you for your trust in our services. We appreciate the ability to serve and will move forward to accomplish the
mission.

Sincerely,

Beau Gertz
President
CadiraMD
303.877.8789

On Nov 4, 2016, at 11:10 AM, "daviedlb@aol.com" <daviedlb@aol.com> wrote:

           Beau, the signed agreements are attached . Please sign them and send them back for my records and
           let's get this thing going next week.

           David L. Byrns
           (954) 336-4640


           <Consulting and Marketing Srv Agreement.pdf>
           <Exclusive Services Agreement for Ref Lab Srv.pdf>




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                                                                                                               WWW.DEPOBOOK.COM




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